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11

12

13                               UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
15
     IN RE: HARD DISK DRIVE SUSPENSION                     Case Nos. 3:19-md-02918-MMC
16   ASSEMBLIES ANTITRUST LITIGATION                                 3:20-cv-01217-MMC
17
                                                           MDL No. 2918
18

19   THIS DOCUMENT RELATES TO                              SEAGATE PLAINTIFFS’ SECOND
                                                           AMENDED COMPLAINT FOR
20   Seagate Technology LLC et al. v. Headway              DAMAGES AND OTHER RELIEF
     Technologies, Inc. et al., Case No. 3:20-cv-
21   01217-MMC                                             JURY TRIAL DEMANDED

22                                                         Hon. Maxine M. Chesney

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 1           E.       Carrying Out the Conspiracy29

 2           95.      During the Conspiracy Period, Defendants conspired to suppress and eliminate

 3   competition for suspension assembly sales by fixing prices, exchanging bidding information,

 4   agreeing on bids, sharing Seagate confidential information, and allocating their sales, in order to

 5   raise, stabilize, and/or slow the decline of prices of suspension assemblies sold to Seagate.

 6           96.      NHK and MPT had contacts through multiple channels to exchange competitively

 7   sensitive information and coordinate with regards to the manufacture and sale of suspension

 8   assemblies. The exchange of competitively sensitive information included: (i) actual, potential,

 9   and proposed prices; (ii) market shares and customer volumes; (iii) manufacturing capacities; (iv)

10   utilization rates; (v) timing of bid responses and other general bid information; and (vi) information

11   related to product design and development.

12           97.      These communications were carried out between personnel at various levels of

13   Defendants’ corporate families—including high-level executives, sales managers, and individuals

14   with pricing authority—based in various geographic locations, including Minnesota, California, and

15   other U.S. states, Japan, Thailand, and Hong Kong.

16           98.      At least one purpose of the conspiracy between TDK and NHK was to eliminate or

17   ease any price war or price competition between TDK and NHK on sales of suspension assemblies

18   to Seagate. The purpose of at least some of the communications between NHK and TDK in

19   furtherance of their conspiracy was to keep prices for suspension assemblies they sold to Seagate

20   higher than they otherwise would have been.

21           99.      Contact between and among Defendants MPT, NHK, and HTI in the United States,

22   including in California and Minnesota, began as early as 2001.

23           100.     From at least 2001 until 2008, MPT’s Director of Sales and Account Management

24   had contacts with competing suppliers of suspension assemblies. During at least part of this time,

25   this MPT Director was responsible for sales to Seagate. These exchanges included discussions of

26
     29
27      Many allegations herein reflect information Seagate obtained from Defendants’ own documents produced during
     this litigation.
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 1   competitively sensitive information including prices, capacities, and plans for customer programs.

 2   As an example, the MPT Director’s contacts with NHK resulted in MPT receiving information on

 3   prices and capacity for certain Seagate programs. During this period the MPT Director was based

 4   in Minnesota. Many of these communications involved NHK International’s California-based VP

 5   of Disk Drive Suspension and Component Sales, who had responsibility for U.S. sales, including

 6   NHK’s sales to Seagate.

 7          101.    In addition to his contacts with NHK, the MPT Director exchanged competitive

 8   information with HTI, where he was previously employed, between at least 2001/2002 and 2008.

 9   In one August 2005 email, the MPT Director referenced contacting old friends from HTI to see if

10   they were getting the same demands from Seagate regarding Seagate’s Alpine project. These old

11   friends included HTI’s Director of Strategic Business Unit Sales and Marketing, based in Minnesota,

12   as well as two of HTI’s Seagate sales representatives.

13          102.    For instance, in one March 2007 email, the MPT Director told several senior MPT

14   executives and sales managers, including his superiors, that he would check with the HTI sales

15   representatives for Seagate about prior prices HTI had offered on Seagate’s Argon and Cadmium

16   programs.

17          103.    In one December 2006 email, the MPT Director received pricing information for

18   Seagate’s Argon and Cadmium programs from HTI, which he conveyed to senior executives and

19   sales managers at MPT.

20          104.    During this period, MPT also facilitated communications between NHK and HTI,

21   including contacts in which all three Defendants participated. Several of these communications

22   occurred in-person in California.

23          105.    The MPT Director introduced the HTI Director to the NHK VP of Sales in the early

24   2000s during a business trip to California. After that, the HTI Director and the NHK VP of Sales

25   went to a hunting lodge in the United States every year between 2003 and 2012, during which time

26   they had at least one discussion that touched on prices.

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 1          106.    Other MPT employees also exchanged competitive information with NHK during

 2   the early 2000s. From at least 2005 until 2008, MPT’s Senior Director of Sales and Account

 3   Management responsible for sales to WD communicated with the NHK VP of Sales at least quarterly

 4   about topics including suspension assembly customers, shipment volumes, and prices. The MPT

 5   Senior Director had a good relationship with the NHK VP of Sales because they worked together

 6   previously and had known each other for many years.

 7          107.    The MPT Senior Director relayed information learned from these conversations to

 8   senior executives and sales managers at MPT.

 9          108.    The MPT Senior Director often reached out to the NHK VP of Sales at the specific

10   behest of his superiors.

11          109.    Though the MPT Senior Director was in charge of sales to WD and often exchanged

12   information with NHK about WD specifically, he also received information about other customers,

13   including pricing and volume information about Seagate. For example, in a May 2008 email, he

14   shared a detailed recap of a discussion he had with NHK, which included NHK’s sales volumes for

15   Seagate.

16          110.    The MPT Senior Director and NHK at times reached agreements on prices. In one

17   August 2008 email, the MPT Senior Director recapped a conversation with NHK, indicating that he

18   and NHK came to an understanding on pricing for WD’s Mercury program.

19          111.    In 2008, the MPT Director and the MPT Senior Director left MPT during a round of

20   large company layoffs. Following their departure, their immediate superior, the VP of Sales and

21   Account Management for MPT took over their responsibilities. The MPT VP of Sales also began

22   to play a more direct role in communications with the NHK VP of Sales.

23          112.    From at least 2008 until April 2016, the MPT VP of Sales communicated with the

24   NHK VP of Sales via emails, text messages, and in-person meetings at least once per month and

25   more frequently when customers issued requests for quotations on specific products.        They

26   discussed topics such as prices, new product designs, actual and forecasted shipments, capacity,

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 1   utilization, and bids. One purpose of their discussions was to avoid price decreases. Sometimes

 2   MPT used NHK to check price information it had received from a customer.

 3          113.    The MPT VP of Sales also communicated directly with executives and sales people

 4   from numerous NHK subsidiaries. For example, he had multiple contacts with NHK Thailand’s

 5   General Manager for HDD Sales, including conversations in which they discussed prices that would

 6   be quoted to customers. The NHK General Manager then relayed this information with employees

 7   of NHK Thailand’s parent and sister companies.

 8          114.    The MPT VP of Sales also shared information he learned from the NHK VP of Sales

 9   directly with his superior, a senior MPT executive. In turn, the senior MPT executive shared

10   information he received from his own communications with senior executives and sales managers

11   at NHK.

12          115.    Both prior to and following TDK’s acquisition of MPT in 2007, the senior MPT

13   executive also had contacts with various individuals at NHK, including Hiroyuki Tamura, Senior

14   Sales Director for NHK’s Disk Drive Suspension and Component Sales Division from 2007 through

15   2013, and Hitoshi Hashimoto, who took over the same role in 2013.

16          116.    Both Mr. Tamura and Mr. Hashimoto were indicted by the Department of Justice in

17   February 2020.     The senior MPT executive’s contacts with NHK involved exchanges of

18   competitively sensitive information including customers, bids, capacity, utilization, technology,

19   actual and potential bid prices, and component supplier issues.

20          117.    The pricing information that MPT received from NHK, including Seagate’s

21   confidential information, allowed MPT to set baseline prices, avoid pricing too low, and avoid

22   “overshooting the market” because customers were trying to drive prices down. The discussion

23   allowed the companies not to “go crazy on prices” and to abstain from starting a price war. The

24   purpose of the conversations was to keep prices higher than they otherwise would have been.

25          118.    As early as 2003, the senior MPT executive and Mr. Tamura began communicating

26   while negotiating a cross-licensing agreement between the companies. Thereafter, the senior MPT

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 1   executive began meeting with Mr. Tamura and other individuals to exchange information about

 2   suspension assemblies.

 3          119.    Between 2005 and 2007, the senior MPT executive and Mr. Tamura met one or two

 4   times a year; their communications included discussions of prices, volumes, actual and projected

 5   shipments, customers, and component supplies. After 2007 through 2013, they met four or five

 6   times per year, and more frequently around significant RFQs.

 7          120.    As an example, in a December 5, 2005 meeting between the senior MPT executive

 8   and Mr. Tamura, the parties discussed Seagate and WD, among other topics. During the meeting,

 9   NHK identified NHK’s “starting price” for suspension assemblies to WD and confirmed that it was

10   on Seagate’s Titanium Program. The senior MPT executive reported that he hoped to get indications

11   of pricing from NHK.

12          121.    In another meeting in late 2005, the senior MPT executive and the U.S.-based MPT

13   VP of Sales met with Mr. Tamura and an NHK executive at a Hawaiian coffee shop in Tokyo. They

14   discussed NHK’s plan to build a suspension assembly facility in Thailand, which would add capacity

15   and create an NHK presence in Thailand. NHK assured the senior MPT executive that NHK would

16   maintain its friendly relationship with MPT and not take market share away from them.

17          122.    Following TDK’s acquisition of MPT in 2007, senior executives and sales managers

18   from TDK and NHK met in Yokohama, Japan to discuss TDK’s future plans for MPT and the

19   suspension assembly business. TDK assured NHK that the acquisition would not affect TDK and

20   NHK’s positive relationship. The companies agreed to work together to grow both companies’

21   market shares at the expense of their co-conspirator, HTI. TDK and NHK further agreed to avoid a

22   price war when they were trying to grow share at the expense of their co-conspirator, HTI.

23          123.    Thereafter, TDK and NHK senior executives and sales managers met at least

24   quarterly. During these meetings TDK and NHK discussed topics including specific customer bids

25   or RFPs, information on capacity, utilization, customers, future expansion plans, and potential ways

26   to lower suspension assembly production costs, including Seagate’s confidential information. The

27   companies sometimes discussed their mutual desire to avoid a price war.

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 1   Minnesota, (ii) quoting price-fixed prices of suspension assemblies to Seagate LLC in Minnesota,

 2   (iii) selling price-fixed suspension assemblies to Seagate LLC in Minnesota, (iv) supplying price-

 3   fixed suspension assemblies to Seagate LLC in Minnesota, (v) entering into agreements in

 4   Minnesota with Seagate LLC for the supply of price-fixed suspension assemblies; (vi) engaging in

 5   conspiratorial communications in and from Minnesota, and (vii) as related to Defendants TDK and

 6   NHK, conspiring with, while also scheming to wound and then eliminating, their Minnesota-based

 7   co-conspirator, HTI.

 8          154.   Seagate LLC purchased suspension assemblies affected by the conspiracy in

 9   Minnesota. Seagate LLC entered agreements in Minnesota with Defendants for the supply of

10   suspension assemblies affected by the conspiracy. Defendants shipped suspension assemblies

11   affected by the conspiracy to Seagate LLC in Minnesota.

12          155.   Seagate LLC’s offices in Minnesota (specifically in Bloomington, Minnesota) were

13   home to Seagate’s Commodities Management Team (“CMT”) for much of the Conspiracy Period.

14   CMT holds, and held for much of the Conspiracy Period, primary responsibility for many aspects

15   of procuring suspension assemblies along with employees in Seagate LLC’s California office,

16   including negotiating the pricing for and overseeing the acquisition of suspension assemblies,

17   designing engineering specifications for the suspension assemblies (with Seagate engineering based

18   in Minnesota), and overseeing the supply and quality of suspension assemblies delivered to Seagate.

19          156.   Seagate CMT made purchasing decisions regarding suspension assemblies from

20   Minnesota, including agreeing on prices it would pay for suspension assemblies in Minnesota,

21   setting forecasts for purchases of suspension assemblies in Minnesota, seeking budget approval for

22   purchases of suspension assemblies in Minnesota, and determining volumes of purchases of

23   suspension assemblies in Minnesota.

24          157.   Given Seagate CMT’s presence in Minnesota and broad acquisition responsibilities,

25   Defendants themselves maintained a presence in, and regularly traveled to or within, Minnesota to

26   negotiate in person with members of Seagate CMT’s team for Seagate’s purchase of suspension

27   assemblies during the Conspiracy Period. Defendants also regularly communicated over the

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 1   telephone and electronic means with one another in Minnesota and with Seagate CMT in Minnesota

 2   to negotiate Seagate’s purchase of suspension assemblies during the Conspiracy Period.

 3          158.    During negotiations with Seagate CMT in Minnesota, Defendants proposed prices,

 4   pricing terms, technologies and product designs, and other supply terms to Seagate, including prices,

 5   pricing terms, and technologies affected by the conspiracy.

 6          159.    After negotiating prices, pricing terms, supply terms, product designs, and

 7   production costs in Minnesota with Defendants, Seagate LLC purchased suspension assemblies

 8   affected by the conspiracy in Minnesota.

 9          160.    After negotiating prices, pricing terms, supply terms, product designs, and

10   production costs in Minnesota with Defendants, Seagate LLC entered agreements in Minnesota with

11   Defendants for the supply of suspension assemblies affected by the conspiracy.

12          161.    After negotiating prices, pricing terms, supply terms, product designs, and

13   production costs in Minnesota with Seagate CMT, Defendants shipped suspension assemblies

14   affected by the conspiracy to Seagate LLC in Minnesota.

15          162.    After negotiating prices, pricing terms, supply terms, product designs, and

16   production costs in Minnesota with Seagate CMT, Defendants shipped suspension assemblies

17   affected by the conspiracy to Seagate’s offices outside of Minnesota for incorporation into hard disk

18   drives delivered to Minnesota.

19          163.    Defendants supplied suspension assemblies to Seagate LLC in Minnesota and to

20   Seagate outside of Minnesota for incorporation into hard disk drives delivered to Minnesota on a

21   regular basis every year since at least 2003, the beginning of the Conspiracy Period.

22          164.    In part to facilitate the supply of suspension assemblies in Minnesota, all three

23   Defendant suppliers of suspension assemblies—HTI, NHK, and TDK/MPT—maintained a presence

24   in Minnesota during much of the Conspiracy Period.

25          165.    Defendant HTI was headquartered in Minnesota throughout the Conspiracy Period,

26   until eliminated by Defendant TDK in 2016. Defendant HTI employed thousands of employees in

27   Minnesota during the Conspiracy Period, and manufactured and sold suspension assemblies in

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 1   confidential Seagate information received from other Defendants to inform and decide what prices

 2   and other supply terms to offer Seagate.

 3          210.    Defendants used confidential information disclosed under the NDAs to advantage

 4   themselves at Seagate’s expense. This confidential Seagate information included, for example,

 5   Seagate’s demand volumes (total available market, or “TAM”), preferred allocation of TAM among

 6   suppliers, price targets, actual pricing in current and prior projects, actual volumes used in current

 7   and prior projects, and technical requirements for upcoming programs. This Seagate confidential

 8   information was often intended to be disclosed to only one of the Defendant suppliers, and Seagate

 9   disclosed it to that specific Defendant with the expectation and understanding that the Defendant

10   would not share it with other Defendants, as required by the NDAs with that specific Defendant.

11          211.    As illustrative but not exhaustive examples:

12                  a. In March 2010, MPT received confidential pricing information from NHK about

13                      the price Seagate paid NHK last quarter and NHK’s pricing offer to Seagate for

14                      next quarter. NHK shared this information in violation of the Supplement for

15                      Disclosure between Seagate and NHK which protected Seagate’s and NHK’s

16                      pricing information disclosed during this period. This confidential information

17                      informed MPT’s decision on pricing terms to offer Seagate, and MPT used the

18                      confidential information to offer higher prices than it otherwise would have but

19                      for NHK’s disclosure of the information.

20                  b. In January 2011, NHK provided information to MPT on NHK’s price quote for

21                      Seagate’s proposed TAM allocation, production volumes for current Seagate

22                      programs, and new capacity for upcoming Seagate programs, in violation of the

23                      Supplement for Disclosure between Seagate and NHK (protecting, inter alia,

24                      business and technical information related to the design and manufacture of disk

25                      drives and disk drive components, manufacturing processes, volume, and

26                      pricing). This confidential information informed MPT’s decision on what supply

27                      terms to offer (or not offer) Seagate, depriving Seagate of more favorable terms

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 1   the division of the suspension assemblies market.         The commercially sensitive information

 2   exchanged to charge Seagate higher prices included Seagate’s confidential information protected

 3   from disclosure by its NDAs with the Defendants.

 4          214.    Likewise, the JFTC found that TDK and NHK exchanged demand forecasts and

 5   quoted pricing for RFQs to implement the conspiratorial agreement to fix prices and allocate

 6   markets. Seagate’s NDAs with Defendants encompass these types of information.

 7          215.    The Defendants exchanged Seagate’s confidential information for their own benefit,

 8   to unjustly enrich themselves, at Seagate’s expense.

 9          216.    As a direct and proximate result of the Defendants’ unlawful and inequitable conduct,

10   Seagate was damaged (and Defendants were unjustly enriched). Defendants charged and Seagate

11   paid supracompetitive prices for suspension assemblies, proximately caused by Defendants’

12   breaches of their NDAs with Seagate, throughout the Conspiracy Period.

13          217.    Defendants used confidential Seagate business information—including pricing,

14   volumes, product roadmaps and technology timelines, trends and forecasts, development plans, sub-

15   supplier information, financial information, materials, and manufacturing volumes—in furtherance

16   of their conspiracy and in order to allocate market shares, raise prices, rig bids, and disadvantage

17   Seagate in negotiations.

18          218.    Defendants’ breaches of the NDAs allowed them to charge Seagate higher prices

19   than would have prevailed if the Defendants were actively competing to supply Seagate. The

20   Defendants undermined Seagate’s ability to negotiate lower prices through the competitive bidding

21   process. Defendants had no reason to lower prices to increase (or at least maintain) their share of

22   TAM when they knew Seagate’s target TAM allocations and pricing for other suppliers. By using

23   Seagate confidential information to coordinate bids and volumes, the Defendants could avoid a

24   “bloody price war for allocation” rather than submit competitive bids and try to undercut the prices

25   of their competitors. The Defendants illegally profited at Seagate’s expense.

26          219.    More specifically as related to Seagate’s confidential prices, when one Defendant

27   learned what price Seagate demanded (in confidence) from another Defendant or discussed (in

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 1   confidence) with another Defendant, the Defendant receiving that confidential price would use it to

 2   decide what price to offer Seagate. Importantly, the Defendant receiving that confidential price

 3   would use it to set its own price at levels not too far below that price (or at times at or above that

 4   price). Seagate would then lose the benefit of the difference between the price offered and the lower

 5   price it would have been offered, if not for the breach. The exchanges of Seagate’s confidential

 6   information allowed the Defendants to align their pricing rather than offer competitive pricing. The

 7   Defendants offered higher pricing to Seagate than they would have absent the breach of the NDAs.

 8          220.    For example, in one August 2005 email, MPT referenced contacting HTI to see if it

 9   was getting the same demands from Seagate regarding Seagate’s Alpine project. By learning

10   Seagate’s confidential demands to HTI, MPT had more certainty on what to offer to Seagate, and

11   furthermore, MPT had more certainty that it did not need to offer anything more competitive (i.e.,

12   more favorable to Seagate) than what Seagate demanded confidentially from HTI. Seagate suffered

13   injury in the difference between what MPT offered to Seagate and what MPT would have offered

14   to Seagate but for the breach.

15          221.    Seagate used the common negotiation tactic of playing the suppliers off of each other

16   to obtain a lower price or other favorable term. Defendants illegally subverted this strategy by

17   sharing confidential information Seagate provided during negotiations, pursuant to the NDAs, and

18   their planned responses to Seagate. The breach of the NDAs allowed Defendants to continue to

19   offer higher prices during negotiations than they otherwise would have offered. As a result, Seagate

20   paid higher prices for suspension assemblies than it would have if not for the breach.

21          222.    By sharing Seagate’s confidential product roadmaps, development timing, and

22   forecasts, the Defendants could conduct long-term planning for their conspiracy. By knowing what

23   projects were on the horizon and which suppliers were invited to bid, they could ensure the

24   conspirators all benefited over the course of several Seagate projects. Additionally, as with pricing,

25   they could coordinate their utilization and costs across projects to inflate the material cost provided

26   to Seagate and support a higher price. With the suppliers aligned and Seagate in the dark about the

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 1   suppliers’ conspiratorial planning, Seagate was more likely to accept the higher price, allowing the

 2   Defendants to artificially increase their product margins at Seagate’s expense.

 3                  ii.     Product Supply Agreements

 4          223.    Seagate LLC and each Defendant (either itself or through its parent company) also

 5   entered product supply agreements (“PSAs”). The PSAs provided negotiated pricing and other

 6   terms and conditions under which the Defendants provided products to Seagate, including

 7   Defendants’ sales of suspension assemblies to Seagate LLC in Minnesota and Seagate LLC’s

 8   purchases in Minnesota of suspension assemblies from Defendants.               All the PSAs included

 9   provisions on confidentiality that governed disclosures of confidential and proprietary information

10   between the parties. All the PSAs also included a “compliance with all laws” provision, requiring

11   the supplier, all products it supplied, and all work it performed to “comply with all applicable laws

12   and regulations in effect.”

13          J.      Trade and Commerce Affected by the Conspiracy

14          224.    The conduct of Defendants and their co-conspirators has taken place in, and affected

15   the continuous flow of interstate and foreign trade and commerce of, the United States.

16          225.    During the Conspiracy Period, Defendants collectively controlled approximately

17   90% of the global supply of suspension assemblies. The conspiracy alleged herein thus affected

18   billions of dollars of commerce.

19          226.    Defendants’ sales in the United States and sales outside the United States of

20   suspension assemblies destined for the United States account for a significant portion of these

21   sizable revenues. U.S.-destined suspension assemblies were a major focus of the conspiracy.

22          227.    Each Defendant HTI, NHK, and TDK—itself and/or by or through one or more of

23   its subsidiaries—sold suspension assemblies in the United States in a continuous and uninterrupted

24   flow of interstate and international commerce, including through and into this judicial district and

25   through and into Minnesota. Each further sold suspension assemblies in the United States for

26   delivery to the United States and outside the United States for incorporation into HDDs destined for

27   sale worldwide, including the United States and including Minnesota, at collusive and

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 1          289.    The agreement, combination, or conspiracy among Defendants and their co-

 2   conspirators consisted of a continuing agreement, understanding, and concerted action among

 3   Defendants and resulted in the fixing, raising, maintaining, and stabilizing of prices for suspension

 4   assemblies in Minnesota and elsewhere.

 5          290.    The anticompetitive acts were intentionally carried out in Minnesota, directed at

 6   suspension assemblies purchased by Seagate LLC in Minnesota and supplied to Seagate LLC in

 7   Minnesota, and had a substantial and foreseeable effect on trade and commerce in Minnesota by

 8   raising and fixing prices for suspension assemblies throughout Minnesota and elsewhere.

 9          291.    As a result of the unlawful conduct and acts undertaken in furtherance of the

10   conspiracy by Defendants and their co-conspirators, Seagate LLC’s business and property were

11   injured in Minnesota, in that Seagate LLC paid more for suspension assemblies than it would have

12   paid in the absence of Defendants’ unlawful conduct.

13          292.    The alleged contract, combination, or conspiracy is a per se violation of the

14   Minnesota Antitrust Law of 1971, Minnesota Statutes §§ 325D.49-.66.

15                                               COUNT V

16    Breach of Contract – Nondisclosure Agreements (Against All Defendants except Headway)

17          293.    Seagate incorporates by reference the allegations in the preceding paragraphs.

18          294.    Defendants executed Master Nondisclosure Agreements with Seagate LLC,

19   including Supplements thereto, during the Conspiracy Period which were valid and binding

20   contracts.

21          295.    The parties contemplated disclosure of confidential business and technical

22   information by Seagate LLC as well as its corporate affiliates as a necessary part of purchasing

23   suspension assemblies from the Defendants. Without providing design specifications, volume

24   forecasts, capacity, product roadmaps, and pricing information, Seagate would not be able to ensure

25   a steady supply of components for its current and future products. Accordingly, Seagate and

26   Defendants entered NDAs to protect these disclosures of proprietary and competitively sensitive

27   information and to confer a direct benefit upon Seagate LLC as well as its corporate affiliates.

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 1           296.   Seagate provided Defendants with confidential business information pursuant to

 2   these NDAs as intended.

 3           297.   Seagate LLC, and its affiliates, have fully performed all of their duties and

 4   obligations under the NDAs.

 5           298.   Pursuant to the NDAs, Defendants were required to, among other things, use

 6   Seagate’s confidential business information only as specified and protect Seagate’s confidential

 7   business information from unauthorized disclosure.

 8           299.   Defendants were not to use Seagate’s confidential information to conspire with one

 9   another against Seagate or to illegally raise prices to Seagate or allocate supply shares among

10   themselves.

11           300.   Defendants breached these obligations by misusing, exchanging, and/or disclosing

12   Seagate’s confidential business information, as set forth herein. Throughout the Conspiracy Period,

13   NHK, TDK, and HTI each shared information that Seagate had provided it under the NDAs with

14   each of the other Defendant families, in violation of their NDAs with Seagate.

15           301.   The Defendants used the Seagate confidential information to avoid underbidding

16   each other, keep sales prices above the competitive level that otherwise would have obtained, and

17   maintain and implement their market share allocation.

18           302.   All Defendants breached their NDAs with Seagate by exchanging Seagate

19   confidential information protected by those NDAs, and the breach caused injury to Seagate. As a

20   direct and proximate result of Defendants’ breach of the NDAs, Seagate has suffered actual damages

21   in the form of unlawfully inflated prices for suspension assemblies, and Defendants have been

22   unjustly enriched at Seagate’s expense. Seagate paid more than it otherwise would have paid in the

23   absence of the Defendants’ improper use of Seagate’s confidential information protected by the

24   NDAs.

25   IX.     DEMAND FOR JUDGMENT

26           WHEREFORE, Seagate demands judgment in Seagate’s favor and against all Defendants

27   adjudging and decreeing that:

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             SEAGATE PLS.’ SECOND AMENDED COMPLAINT FOR DAMAGES AND OTHER RELIEF
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           SEAGATE PLS.’ SECOND AMENDED COMPLAINT FOR DAMAGES AND OTHER RELIEF
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                  Exhibit 17

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                  Exhibit 18

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                  Exhibit 19

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                  Exhibit 20

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                  Exhibit 22

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                  Exhibit 23

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                  Exhibit 24

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                  Exhibit 25

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                  Exhibit 26
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                                   UNITED STATES DISTRICT
                                                 DISTRICT COURT
                                                          COURT
19
                               NORTHERN DISTRICT
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                                                 OF CALIFORNIA
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       IN RE:
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23                                                          MDL No.
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25                                                          DOCUMENTS TO
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1     REQUEST FOR
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2            All Communications
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                                        TDK Corporation
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3     memorializing，constituting，concerning
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4     Hutchinson Technology
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                                 or TDK
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5     Hutchinson Technology
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6     REQUEST FOR
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7            All Documents
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8     referring to
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9     Technology Inc.
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10    REQUEST FOR
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11           All Documents
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12    Communications between
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13    Suspension Assemblies
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14    not limited
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                                Technology Inc.,
                                           Inc., where the participants
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                                                                        discussed production,
                                                                                  production, capacity,
                                                                                              capacity，
15    Utilization, customer
      utilization, customer product
                            product lines,
                                    lines, product
                                           product design
                                                   design development,
                                                          development, customer
                                                                       customer technical
                                                                                technical requirements,
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16    component supplies,
      component supplies, cross-licensing
                          cross-licensing arrangements,
                                          arrangements, HDD
                                                        HDD Suspension
                                                            Suspension Assemblies-related
                                                                       Assemblies-related patents,
                                                                                          patents，
17    market share,
      market share，customer  volumes, pricing,
                    customer volumes, pricing, bidding
                                               bidding events,
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18    shipment, or
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                                                            Components Incorporating
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19    Assemblies during
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21           All Documents
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23    Components Incorporating
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24    Technology Inc.,
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25    lines, product
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26    licensing arrangements,
      licensing arrangements，HDD  Suspension Assemblies-related
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27    volumes, pricing,
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                        bidding events,
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          Case 3:19-md-02918-MMC Document 862-2 Filed 02/10/23 Page 44 of 134




1     Dated: August
      Dated: August 3,
                    3, 2020
                       2020
只




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      End-User  Plaintiffs                               Reseller Plaintiffs
                                                         Reseller  Plaintiffs

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                                                         Singapore    International Headquarters
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22
                                                         and Seagate
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      PLAINTIFFS’ FIRST JOINT
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15

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17
                               UNITED STATES DISTRICT COURT
18
                            NORTHERN DISTRICT OF CALIFORNIA
19

20
     IN RE: HARD DISK DRIVE SUSPENSION                   Case Nos. 3:19-md-02918-MMC
21   ASSEMBLIES ANTITRUST LITIGATION                               3:20-cv-01217-MMC

22                                                       MDL No. 2918

23                                                       SEAGATE’S FIRST SET OF
     THIS DOCUMENT RELATES TO                            INTERROGATORIES TO
24                                                       DEFENDANTS
     ALL ACTIONS
25

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                     SEAGATE’S FIRST SET OF INTERROGATORIES TO DEFENDANTS
                              CASE NOS. 3:19-md-02918-MMC, 3:20-cv-01217-MMC
         Case 3:19-md-02918-MMC Document 862-2 Filed 02/10/23 Page 47 of 134




 1          (a)    all participants in the Meeting or Communication, and their employers at the time

 2                 of the Meeting or Communication;

 3          (b)    the date of the Meeting or Communication;

 4          (c)    the topics addressed during or in the Meeting or Communication;

 5          (d)    any information You provided or received;

 6          (e)    the purpose of the Meeting or Communication;

 7          (f)    whether or not the Meeting or Communication was part of a violation of the

 8                 Sherman Act, California Cartwright Act, or Minnesota Antitrust Law;

 9          (g)    all Persons You or Your representatives believe or have reason to believe have

10                 personal knowledge of the Meeting or Communication; and

11          (h)    all Documents that constitute, memorialize, reflect, or refer to the Meeting or

12                 Communication, or other information requested in this interrogatory.

13   INTERROGATORY NO. 2

14          Identify all Meetings and Communications that You or someone on Your behalf or with

15   Your knowledge or approval had with an Employee or representative of another Defendant during

16   the Relevant Time Period at which or about which the forecasting, supply, demand, product lines,

17   product plans, or product roadmaps with respect to the sale of HDD Suspension Assemblies or

18   HDD Components Incorporating Suspension Assemblies to Seagate, Western Digital, Samsung,

19   or Toshiba was a topic of the Meeting or Communication, other than Meetings and

20   Communications restricted to only Employees or representatives of entities wholly owned by You

21   at the time of the Meeting or Communication, including:

22          (a)    all participants in the Meeting or Communication, and their employers at the time

23                 of the Meeting or Communication;

24          (b)    the date of the Meeting or Communication;

25          (c)    the topics addressed during or in the Meeting or Communication;

26          (d)    any information You provided or received;

27          (e)    the purpose of the Meeting or Communication;

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                      SEAGATE’S FIRST SET OF INTERROGATORIES TO DEFENDANTS
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 1          (f)     whether or not the Meeting or Communication was part of a violation of the

 2                  Sherman Act, California Cartwright Act, or Minnesota Antitrust Law;

 3          (g)     all Persons You or Your representatives believe or have reason to believe have

 4                  personal knowledge of the Meeting or Communication; and

 5          (h)     all Documents that constitute, memorialize, reflect, or refer to the Meeting or

 6                  Communication, or other information requested in this interrogatory.

 7   INTERROGATORY NO. 3

 8          Other than agreements entered into with Seagate, Western Digital, Samsung, or Toshiba,

 9   identify each agreement (oral, written, or implied) that You or anyone on Your behalf or with Your

10   knowledge or Your approval entered into during the Relevant Time Period concerning pricing or

11   supply of HDD Suspension Assemblies or HDD Components Incorporating Suspension

12   Assemblies to Seagate, Western Digital, Samsung, or Toshiba, including:

13          (a)     all parties to the agreement and to any amendment or renewal;

14          (b)     the date of the agreement and any amendment or renewal;

15          (c)     the Meeting(s) at which, or the Communication(s) in which, the agreement and any

16                  amendment or renewal were reached;

17          (d)     whether the agreement and any amendment or renewal was oral, written, or

18                  implied;

19          (e)     the terms of the agreement and any amendment or renewal;

20          (f)     the purpose of the agreement and any amendment or renewal;

21          (g)     the ending date, if any, of the agreement and any amendment or renewal;

22          (h)     the reason the agreement and any amendment or renewal came to an end;

23          (i)     whether or not the agreement and any amendment or renewal violated the Sherman

24                  Act, California Cartwright Act, or Minnesota Antitrust Law;

25          (j)     all Persons You or Your representatives believe or have reason to believe have

26                  personal knowledge of the agreement and any amendment or renewal, the

27                  existence, or terms of same; and

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                      SEAGATE’S FIRST SET OF INTERROGATORIES TO DEFENDANTS
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 1          (k)     all Documents that constitute, memorialize, reflect, or refer to the agreement and

 2                  any amendment or renewal, or terms thereof, or other information requested in this

 3                  interrogatory.

 4   INTERROGATORY NO. 4

 5          Identify and describe any trade association show, trade association event, or other industry

 6   Meeting or event, including but not limited to any standard setting organization Meeting or event,

 7   attended by any of Your Employees who has or had any non-clerical responsibility for

 8   recommending, reviewing, setting, communicating, or approving prices for, price increase

 9   announcements, production, bids or quotes related to, or setting or restricting capacity utilization

10   for facilities manufacturing, Your HDD Suspension Assemblies and/or HDD Components

11   Incorporating Suspension Assemblies during the Relevant Time Period, including:

12          (a)     the date of the trade association show, trade association event, or other industry

13                  Meeting or event;

14          (b)     the location of the trade association show, trade association event, or other industry

15                  Meeting or event; and

16          (c)     the names and titles of each Employee with the responsibility described in this

17                  interrogatory that attended the trade association show, trade association event, or

18                  other industry Meeting or event.

19   INTERROGATORY NO. 5

20          Identify each instance in which You shared Seagate information regarding HDD

21   Suspension Assemblies or HDD Components Incorporating Suspension Assemblies, including but

22   not limited to Seagate information regarding pricing, forecasting, supply, demand, product lines,

23   product plans, or product roadmaps with any other Defendant, competitor, or manufacturer of

24   HDD Suspension Assemblies or HDD Components Incorporating Suspension Assemblies,

25   including, for each instance:

26          (a)     the date;

27          (b)     the contents of the shared information;

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                       SEAGATE’S FIRST SET OF INTERROGATORIES TO DEFENDANTS
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 1          (c)     the nature of the Communication in which You shared the Seagate information;

 2          (d)     the names and titles of the individuals who provided and received the information,

 3                  and their employers;

 4          (e)     whether or not the instance in which You shared Seagate information was part of a

 5                  violation of the Sherman Act, California Cartwright Act, or Minnesota Antitrust

 6                  Law; and

 7          (f)     all Documents that constitute, memorialize, reflect, or refer to the shared

 8                  information, Communication, or other information requested in this interrogatory.

 9                                         II.    DEFINITIONS

10          1.      The following rules of construction shall apply to all discovery requests:

11                  (a)    The connectives “And” and “Or” shall be construed either disjunctively or

12   conjunctively as necessary to bring within the scope of the discovery request all responses that

13   might otherwise be construed to be outside of its scope;

14                  (b)    “Including” shall be construed to mean “without limitation”;

15                  (c)    “Relating to,” “regarding,” or “with respect to” mean, without limitation,

16   the following concepts: discussing, describing, reflecting, dealing with, pertaining to, analyzing,

17   evaluating, estimating, constituting, studying, surveying, projecting, assessing, recording,

18   summarizing, criticizing, reporting, commenting, or otherwise involving, in whole or in part; and

19                  (d)    The use of the singular form of any word includes the plural and vice versa.

20          2.      “Communication(s)” means, without limitation, any disclosure, transfer, or

21   exchange of information, opinions, ideas or thoughts, by any means, including but not limited to

22   face-to-face meetings; written, recorded, electronic, or oral communications; or otherwise, at any

23   time or place under any circumstances. This definition shall include communication via social

24   media, including, but not limited to, information, opinions, ideas, or thoughts, posted on or

25   transmitted through social networking platforms (e.g., LinkedIn, Facebook, Instagram), digital

26   file-sharing services (e.g., Dropbox), blogs and microblogs (e.g., Twitter, Tumblr), Voice Over

27   Internet Protocol services (e.g., Skype, Zoom), and/or instant messages (e.g., Facebook

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                      SEAGATE’S FIRST SET OF INTERROGATORIES TO DEFENDANTS
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 1   Document using the applicable bates numbers or specifically identify the type of Document being

 2   produced (e.g., letter, memorandum, contract, invoice, etc.), its date and author(s), its custodian,

 3   and every person to whom such Document or any copy thereof was given or sent. For all

 4   Documents produced pursuant to Rule 33(d), identify the name of the employee, officer, or agent

 5   certifying the Document as business records.

 6          3.      If any answer to an interrogatory or part thereof is withheld on a claim of privilege

 7   or constitutes attorney work product such that the responding party will not respond to the

 8   interrogatory, please provide a written statement describing each and every fact or basis upon

 9   which the purported privilege or claim of work product is asserted.

10

11   Dated: August 3, 2020                           /s/ Kenneth R. O’Rourke
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                       SEAGATE’S FIRST SET OF INTERROGATORIES TO DEFENDANTS
                                CASE NOS. 3:19-md-02918-MMC, 3:20-cv-01217-MMC
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12

13                               UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
15
     IN RE: HARD DISK DRIVE SUSPENSION                     Case Nos. 3:19-md-02918-MMC
16   ASSEMBLIES ANTITRUST LITIGATION                                 3:20-cv-01217-MMC
17
                                                           MDL No. 2918
18

19   THIS DOCUMENT RELATES TO                              SEAGATE PLAINTIFFS’ SECOND
                                                           AMENDED COMPLAINT FOR
20   Seagate Technology LLC et al. v. Headway              DAMAGES AND OTHER RELIEF
     Technologies, Inc. et al., Case No. 3:20-cv-
21   01217-MMC                                             JURY TRIAL DEMANDED

22                                                         Hon. Maxine M. Chesney

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            SEAGATE PLS.’ SECOND AMENDED COMPLAINT FOR DAMAGES AND OTHER RELIEF
                                CASE NOS. 3:19-md-02918-MMC, 3:20-cv-01217-MMC
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 1          1.      This antitrust and breach of contract action seeks to redress a longstanding

 2   conspiracy by the leading manufacturers of essential computer technology components called

 3   suspension assemblies. Suspension assemblies are an indispensable component of computer hard

 4   disk drives (“HDDs”). The conspirators fixed, raised, and stabilized prices of suspension assemblies

 5   and allocated supply shares of these products with an overriding purpose of selling them for higher

 6   prices and making more money than they otherwise would have made if there had been robust

 7   competition rather than their conspiracy. The conspirators carried out their price fixing and supply

 8   allocation conspiracy by inter alia routinely communicating and coordinating their businesses with

 9   one another and exchanging and using confidential information in breach of agreements that

10   prohibited the improper disclosures and use of such information.

11          2.      Plaintiff Seagate Technology LLC (“Seagate LLC”), with Seagate Technology

12   (Thailand) Ltd. (“Seagate Thailand”), Seagate Singapore International Headquarters Pte. Ltd.

13   (“Seagate Singapore”), and Seagate Technology International (“Seagate International”),

14   (collectively, “Seagate” or “Plaintiffs”) purchased billions of dollars’ worth of suspension

15   assemblies from Defendants. Seagate purchased these suspension assemblies to make hard drives,

16   which are found in computers everywhere and serve as important technologies and products for

17   major U.S. industries; key health, security, and safety sectors; large and small businesses; and U.S.

18   households.

19          3.      Plaintiffs bring this action for damages and other relief under the antitrust laws of the

20   United States and various states, as well as for breach of contract, against three Defendant groups:

21                  NHK Defendants: NHK Spring Co. Ltd., NHK International Corporation, NAT

22                  Peripheral (Dong Guan) Co., Ltd., NAT Peripheral (H.K.) Co., Ltd., NHK Spring

23                  (Thailand) Co., Ltd. (collectively, “NHK”);

24                  TDK Defendants: TDK Corporation, Headway Technologies, Inc., Magnecomp

25                  Precision Technology Public Co., Ltd., and SAE Magnetics (H.K.) Ltd. (collectively,

26                  “TDK”), and

27                  HTI Defendant: Hutchinson Technology Inc. (“HTI”).

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                 SEAGATE PLS.’ AMENDED COMPLAINT FOR DAMAGES AND OTHER RELIEF
                                CASE NOS. 3:19-md-02918-MMC, 3:20-cv-01217-MMC
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 1              4.      Plaintiffs allege as follows on personal knowledge as to themselves and upon

 2   information and belief as to all others:

 3   I.         INTRODUCTION

 4              5.      Defendants and their co-conspirators knowingly conspired for more than 12 years

 5   not to compete with one another in the pricing and supply of suspension assemblies for hard disk

 6   drives. Specifically, Defendants agreed to fix the prices and allocate market shares of suspension

 7   assemblies sold to Seagate from as early as 2003 through at least April 2016 with the effects

 8   continuing thereafter (the “Conspiracy Period”). Defendant TDK entered an agreement to acquire

 9   HTI on or about November 1, 2015, and completed the acquisition on or about October 6, 2016.1

10   As a result of the Defendants’ conspiracy, Seagate paid artificially high prices on billions of dollars

11   of its purchases of suspension assemblies.

12              6.      At least five of the world’s antitrust agencies have investigated or continue to

13   investigate aspects of this conspiracy: the United States Department of Justice (“DOJ”), the Japan

14   Fair Trade Commission (“JFTC”), the Administrative Council for Economic Defense in Brazil

15   (“CADE”), the Taiwan Fair Trade Commission (“TFTC”), and the Competition and Consumer

16   Commission of Singapore (“CCCS”). On information and belief, these antitrust agencies initiated

17   these investigations because TDK requested leniency from each of them and admitted to

18   participating in the conspiracy.

19              7.      The agencies that have reported the results of their investigations have all found

20   evidence of a conspiracy among the suppliers of suspension assemblies. For example, on July 29,

21   2019, the DOJ filed a criminal charging document, an Information, against NHK for entering into a

22   conspiracy to eliminate competition for suspension assemblies.

23              8.      On the same day, July 29, 2019, the DOJ announced that NHK entered into a criminal

24   guilty plea agreement (dated July 26, 2019) whereby NHK admitted to participating in a conspiracy

25   to price fix suspension assemblies violating the Sherman Act within the United States.

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         References to “TDK” also include HTI, except where HTI is referenced individually.
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                SEAGATE PLS.’ SECOND AMENDED COMPLAINT FOR DAMAGES AND OTHER RELIEF
                                      CASE NOS. 3:19-md-02918-MMC, 3:20-cv-01217-MMC
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 1           85.      NHK further admitted as part of the plea agreement that an unnamed Company A

 2   also participated in a conspiracy which had the primary purpose of fixing the prices of HDD

 3   suspension assemblies sold in the United States and elsewhere. NHK also admitted that Company

 4   A participated in the aforementioned activities for the purpose of forming and carrying out this

 5   conspiracy. NHK further admitted that Company A, through its officers and employees, reached

 6   agreements with NHK to refrain from competing on prices for, fix the prices of, and allocate their

 7   respective market shares for, HDD suspension assemblies sold in the United States and elsewhere.21

 8           86.      On information and belief, Company A described in NHK’s plea agreement with

 9   DOJ is TDK. Due to industry consolidation as described herein, including TDK’s acquisition of

10   HTI, there are now only two major global suppliers of suspension assemblies: TDK and NHK.

11   Moreover, the JFTC issued a cease and desist order in 2018 describing an agreement “to fix the

12   selling prices of suspensions” between those two remaining global suppliers: NHK and TDK.22

13           87.      On February 13, 2020, DOJ filed an indictment in the United States District Court

14   for the Northern District of California against Hiroyuki Tamura and Hitoshi Hashimoto, two former

15   NHK executives involved in the sale and pricing of NHK’s suspension assemblies. Hiroyuki

16   Tamura was the general manager of NHK Spring’s disk drive suspension and component sales

17   department from approximately 2007 through April 2013. Hitoshi Hashimoto held the same

18   position from April 2013 through April 2016.23 During the Conspiracy Period, Mr. Hashimoto also

19   held a position at NAT.

20           88.      According to the indictment, the DOJ determined that Tamura, Hashimoto, and their

21   co-conspirators engaged in the following activities:

22                    a. attending meetings and engaging in other communications concerning their sales

23                        of, pricing of, and market shares for HDD suspension assemblies to be sold in

24                        the United States and elsewhere;

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26   21
        Id. ¶ 4(c).
     22
        Japan Fair Trade Commission, Year 2018 (Measure) No. 5, Cease and Desist Order ¶ 1 (Feb. 9, 2018) (“JFTC
27   Cease and Desist Order”).
     23
        Indictment, United States of America v. Hitoshi Hashimoto and Hiroyuki Tamura, 3:20-cr-00070-JD, ¶2-4 (N.D.
28   Cal. Feb. 13, 2020), ECF No. 1.
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             SEAGATE PLS.’ SECOND AMENDED COMPLAINT FOR DAMAGES AND OTHER RELIEF
                                   CASE NOS. 3:19-md-02918-MMC, 3:20-cv-01217-MMC
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 1   with the JFTC.25 In July 2016, the JFTC raided Defendant NHK and Defendant TDK (or certain of

 2   their subsidiaries) based on suspected coordinated price-fixing activity by the two companies. On

 3   February 9, 2018, the JFTC issued a cease and desist order to NHK and fined NHK, finding that

 4   NHK and TDK substantially restrained competition in the suspension assembly market by agreeing

 5   to maintain sale prices.26 By that point in time, TDK had acquired HTI.

 6           91.      The JFTC similarly concluded that at least TDK, NHK Spring Co. Ltd., and NAT

 7   Peripheral (H.K.) Co. substantially restrained competition in the suspension assembly market by

 8   agreeing to maintain sales prices. The JFTC found that TDK and NHK coordinated with each other

 9   and agreed to fix prices of suspension assemblies “to secure the[ir] market share and profits,”

10   including by holding multiple meetings with sales managers between August 31, 2007 and January

11   28, 2009 to confirm their price-fixing strategy.27

12           92.      The JFTC further concluded that in order to implement the conspiratorial agreement,

13   TDK and NHK would confirm the quoted prices and selling prices for Requests for Quotations

14   (“RFQs”) and “exchang[e] information on suspension demand forecasts and selling prices as well

15   as the quoted prices presented when foreign HDD manufacturer-sellers issued RFQs.”28 Again the

16   JFTC explained that these information exchanges occurred in sales manager meetings.

17           93.      In sum, in order to raise, stabilize and/or slow the decline of prices of suspension

18   assemblies sold to Seagate, Defendants TDK, NHK and HTI conspired to suppress and eliminate

19   competition for suspension assembly sales by fixing prices, exchanging bidding information,

20   agreeing on bids, and allocating their sales.

21           94.      Defendants TDK and NHK have admitted to the existence of this conspiracy in

22   leniency applications and a guilty plea, respectively. These admissions constitute direct evidence

23   of the alleged conspiracy.

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26   25
        JFTC Cease and Desist Order to the Manufacturers of Suspension for Hard Disk Drives (Feb. 9, 2018), available
     at https://www.jftc.go.jp/houdou/pressrelease/h30/feb/180209_1_files/201802betten.pdf (working translation).
27   26
        JFTC Press Release (Feb. 9, 2018), available at https://www.jftc.go.jp/houdou/pressrelease/h30/feb/180209_1.html.
     27
        JFTC Cease and Desist Order ¶ 2.
28   28
        Id. ¶ 3.
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 1           E.       Carrying Out the Conspiracy29

 2           95.      During the Conspiracy Period, Defendants conspired to suppress and eliminate

 3   competition for suspension assembly sales by fixing prices, exchanging bidding information,

 4   agreeing on bids, sharing Seagate confidential information, and allocating their sales, in order to

 5   raise, stabilize, and/or slow the decline of prices of suspension assemblies sold to Seagate.

 6           96.      NHK and MPT had contacts through multiple channels to exchange competitively

 7   sensitive information and coordinate with regards to the manufacture and sale of suspension

 8   assemblies. The exchange of competitively sensitive information included: (i) actual, potential,

 9   and proposed prices; (ii) market shares and customer volumes; (iii) manufacturing capacities; (iv)

10   utilization rates; (v) timing of bid responses and other general bid information; and (vi) information

11   related to product design and development.

12           97.      These communications were carried out between personnel at various levels of

13   Defendants’ corporate families—including high-level executives, sales managers, and individuals

14   with pricing authority—based in various geographic locations, including Minnesota, California, and

15   other U.S. states, Japan, Thailand, and Hong Kong.

16           98.      At least one purpose of the conspiracy between TDK and NHK was to eliminate or

17   ease any price war or price competition between TDK and NHK on sales of suspension assemblies

18   to Seagate. The purpose of at least some of the communications between NHK and TDK in

19   furtherance of their conspiracy was to keep prices for suspension assemblies they sold to Seagate

20   higher than they otherwise would have been.

21           99.      Contact between and among Defendants MPT, NHK, and HTI in the United States,

22   including in California and Minnesota, began as early as 2001.

23           100.     From at least 2001 until 2008, MPT’s Director of Sales and Account Management

24   had contacts with competing suppliers of suspension assemblies. During at least part of this time,

25   this MPT Director was responsible for sales to Seagate. These exchanges included discussions of

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     29
27      Many allegations herein reflect information Seagate obtained from Defendants’ own documents produced during
     this litigation.
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 1   competitively sensitive information including prices, capacities, and plans for customer programs.

 2   As an example, the MPT Director’s contacts with NHK resulted in MPT receiving information on

 3   prices and capacity for certain Seagate programs. During this period the MPT Director was based

 4   in Minnesota. Many of these communications involved NHK International’s California-based VP

 5   of Disk Drive Suspension and Component Sales, who had responsibility for U.S. sales, including

 6   NHK’s sales to Seagate.

 7          101.    In addition to his contacts with NHK, the MPT Director exchanged competitive

 8   information with HTI, where he was previously employed, between at least 2001/2002 and 2008.

 9   In one August 2005 email, the MPT Director referenced contacting old friends from HTI to see if

10   they were getting the same demands from Seagate regarding Seagate’s Alpine project. These old

11   friends included HTI’s Director of Strategic Business Unit Sales and Marketing, based in Minnesota,

12   as well as two of HTI’s Seagate sales representatives.

13          102.    For instance, in one March 2007 email, the MPT Director told several senior MPT

14   executives and sales managers, including his superiors, that he would check with the HTI sales

15   representatives for Seagate about prior prices HTI had offered on Seagate’s Argon and Cadmium

16   programs.

17          103.    In one December 2006 email, the MPT Director received pricing information for

18   Seagate’s Argon and Cadmium programs from HTI, which he conveyed to senior executives and

19   sales managers at MPT.

20          104.    During this period, MPT also facilitated communications between NHK and HTI,

21   including contacts in which all three Defendants participated. Several of these communications

22   occurred in-person in California.

23          105.    The MPT Director introduced the HTI Director to the NHK VP of Sales in the early

24   2000s during a business trip to California. After that, the HTI Director and the NHK VP of Sales

25   went to a hunting lodge in the United States every year between 2003 and 2012, during which time

26   they had at least one discussion that touched on prices.

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 1          124.    Several of the NHK employees involved in contacts with TDK, including Mr.

 2   Hashimoto, held dual roles at NHK and NAT (NHK’s joint venture with SAE Magnetics) and

 3   exchanged competitively sensitive information while acting in both capacities to facilitate the agreed

 4   conspiracy.

 5          125.    In several such meetings that took place between August 2007 through at least

 6   January 2009, senior executives and sales managers of NHK, NAT, and TDK agreed on a long-term

 7   strategy for the companies’ relationship.

 8          126.    TDK and NHK agreed (i) to eliminate or ease any price war or price competition;

 9   and (ii) to work together to obtain market share from their co-conspirator, HTI.

10          127.    TDK and NHK also agreed to a rough overall market share of 40-40-20, wherein

11   NHK would have 40% of the market, TDK would have 40% of the market, and HTI would have

12   20% of the market.

13          128.    TDK and NHK agreed to exchange competitively sensitive information, including

14   Seagate confidential information, as a means to continue their conspiracy and achieve this 40-40-20

15   market allocation.

16          129.    TDK communicated this plan to SAE Magnetics and MPT. All five companies—

17   TDK, SAE Magnetics, MPT, NHK, and NAT—then worked together to share information,

18   including information related to price and market share, to implement the agreed conspiracy.

19          130.    In addition to quarterly executive meetings, executives and sales managers from

20   TDK and NHK met on other occasions from at least 2007 through 2014 to reaffirm their friendly

21   relationship, including parties, New Year’s events, and farewell and welcome dinners.

22          F.      Defendants TDK and NHK Further Conspire to Wound and then Eliminate

23                  Their Co-Conspirator, Defendant HTI

24          131.    In or around 2007, Defendants TDK and NHK started discussing how to profit more

25   from their price-fixing conspiracy. As part of these discussions, Defendants TDK and NHK started

26   plotting against their fellow co-conspirator, HTI. TDK and NHK began to view their co-conspirator

27   HTI as a common threat, forming a conspiracy within a conspiracy to harm HTI.

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 1           132.   In an August 2007 meeting among senior executives, Defendants TDK and NHK

 2   agreed to “get more share from HTI together,” as a way to profit more from their conspiracy.

 3           133.   In this August 2007 meeting, Defendants TDK/MPT and NHK further agreed to

 4   avoid a price war with one another and to collectively take market share from HTI.

 5           134.   In June 2009, Defendants TDK/MPT and NHK continued to plot against their co-

 6   conspirator HTI. NHK’s Hitoshi Hashimoto, who was subsequently indicted by DOJ for his role in

 7   the conspiracy, spoke with TDK’s President and CEO and agreed that “TDK and NHK should focus

 8   to kick out HTI ASAP.”

 9           135.   For several years thereafter, Defendants TDK/MPT and NHK continued to conspire

10   on ways to “kick out” HTI. TDK/MPT and NHK secretly plotted for years to gain market share

11   from their co-conspirator HTI and allocate the additional share between them, all while maintaining

12   supracompetitive pricing to Seagate and others.

13           136.   On January 4, 2014, TDK Corp.’s President and CEO met with NHK senior

14   executives to continue these discussions about their co-conspirator HTI. In reporting on the

15   meeting, NHK observed “[s]omething needs to be done under mutual cooperation” to better control

16   their co-conspirator HTI.

17           137.   The discussions among Defendants TDK and NHK about HTI culminated in a plan

18   for TDK to acquire HTI. TDK and NHK agreed that TDK would acquire HTI in or around July

19   2014.

20                  a. On June 12, 2014, the president of TDK and a sales director at NHK had a

21                     telephone conversation to discuss HTI’s “financial situation.”

22                  b. In a June 26, 2014 meeting between TDK and NHK, the companies agreed with

23                     regard to “Company H” to continue “setting opportunities for discussion at both

24                     sides and making preparations for future.”

25                  c. On July 22, 2014, senior executives from TDK and NHK met to discuss a

26                     potential acquisition of HTI. The companies agreed that TDK would acquire

27                     HTI to prevent an HDD manufacturer from acquiring and vertically integrating

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 1            147.   A second senior executive was the President of Defendant MPT, who also served as

 2   the President of Hydra Merger Sub, the Headway subsidiary that effectuated the acquisition of

 3   Defendant HTI. In the time between the announcement of the HTI merger and its closing, this senior

 4   executive was appointed a TDK corporate officer. This senior executive regularly participated in

 5   meetings and communications with NHK about their co-conspirator HTI.

 6            148.   A third senior executive was the President of Defendant SAE Magnetics, who was a

 7   Director of Defendant Headway at the time of the HTI acquisition. This senior executive had

 8   discussions with NHK about how the Defendants could “kick out” HTI. Prior to closing, his direct

 9   report, a Senior VP at SAE Magnetics, met with NHK in California to discuss the status of the

10   acquisition.

11            149.   A fourth senior executive was a Senior Vice President of Defendant TDK Corp., who

12   was also a Director of Defendant Headway at the time of the HTI acquisition. This senior executive

13   regularly participated in conspiratorial meetings with NHK.

14            150.   Headway’s acquisition of HTI was intended to guarantee the continued success of

15   the long-running conspiracy. The acquisition was intended to make it easier for the remaining co-

16   conspirators to carry out and police their price-fixing and market allocation scheme. The remaining

17   conspirators needed only to consult with each other when determining who should bid and at what

18   price.

19            151.   With this conspiratorial purpose in mind and during the Conspiracy Period, Headway

20   entered an agreement to acquire HTI on or about November 1, 2015. The acquisition was completed

21   on or about October 6, 2016.

22            G.     The Conspiracy Was Implemented in Significant Part in Minnesota, Had

23                   Significant Effects in Minnesota, and Injured Seagate LLC in Minnesota

24            152.   Defendants formed, entered into, and implemented the suspension assembly

25   conspiracy described in the preceding paragraphs in significant part in Minnesota.

26            153.   Defendants formed, entered into, and implemented their conspiracy in significant

27   part in Minnesota by, inter alia, (i) conducting “rigged” supply negotiations with Seagate LLC in

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 1   confidential Seagate information received from other Defendants to inform and decide what prices

 2   and other supply terms to offer Seagate.

 3          210.    Defendants used confidential information disclosed under the NDAs to advantage

 4   themselves at Seagate’s expense. This confidential Seagate information included, for example,

 5   Seagate’s demand volumes (total available market, or “TAM”), preferred allocation of TAM among

 6   suppliers, price targets, actual pricing in current and prior projects, actual volumes used in current

 7   and prior projects, and technical requirements for upcoming programs. This Seagate confidential

 8   information was often intended to be disclosed to only one of the Defendant suppliers, and Seagate

 9   disclosed it to that specific Defendant with the expectation and understanding that the Defendant

10   would not share it with other Defendants, as required by the NDAs with that specific Defendant.

11          211.    As illustrative but not exhaustive examples:

12                  a. In March 2010, MPT received confidential pricing information from NHK about

13                      the price Seagate paid NHK last quarter and NHK’s pricing offer to Seagate for

14                      next quarter. NHK shared this information in violation of the Supplement for

15                      Disclosure between Seagate and NHK which protected Seagate’s and NHK’s

16                      pricing information disclosed during this period. This confidential information

17                      informed MPT’s decision on pricing terms to offer Seagate, and MPT used the

18                      confidential information to offer higher prices than it otherwise would have but

19                      for NHK’s disclosure of the information.

20                  b. In January 2011, NHK provided information to MPT on NHK’s price quote for

21                      Seagate’s proposed TAM allocation, production volumes for current Seagate

22                      programs, and new capacity for upcoming Seagate programs, in violation of the

23                      Supplement for Disclosure between Seagate and NHK (protecting, inter alia,

24                      business and technical information related to the design and manufacture of disk

25                      drives and disk drive components, manufacturing processes, volume, and

26                      pricing). This confidential information informed MPT’s decision on what supply

27                      terms to offer (or not offer) Seagate, depriving Seagate of more favorable terms

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 1                  it may otherwise have received but for NHK providing the confidential

 2                  information to MPT.

 3               c. In May 2012, an NHK employee reported internally on information learned from

 4                  MPT. MPT shared confidential Seagate information related to monthly capacity

 5                  for two Seagate projects, volumes pulled from inventory by Seagate, and total

 6                  project volumes. The information shared by MPT was Seagate’s confidential

 7                  business and technical information protected by a Supplement between Seagate

 8                  and MPT. This confidential information informed NHK’s decision on what

 9                  supply terms to offer (or not offer) Seagate.

10               d. In October 2012, NHK provided to MPT Seagate’s volume forecasts and

11                  allocation for NHK for several quarters. NHK also shared its pricing for a

12                  specific program and the pricing Seagate claimed it received from MPT. MPT

13                  denied that its pricing was as low as Seagate said, meaning NHK could bid higher

14                  without fear of losing (if it believed MPT). These exchanges were in breach of

15                  Supplements between Seagate and each of MPT and NHK in effect at the time

16                  and protecting Seagate’s manufacturing, volume, and pricing information.

17               e. In March 2013, SAE Magnetics provided NHK with Seagate’s forecasts for

18                  HGAs, as well as information on Seagate’s current HGA, actuator pivot flex

19                  assembly (“APFA”), head stack assembly (“HSA”), and HDD operations. NHK

20                  discussed this information internally and considered how to use it in upcoming

21                  discussions with Seagate, including to get a higher profit margin or larger volume

22                  of business. SAE Magnetics breached the provisions of its Supplement with

23                  Seagate covering this time period and Seagate’s “pricing, volumes, trends and

24                  forecasts.”

25               f. In January 2014, NHK and MPT met to compare the RFQs they received from

26                  Seagate and discuss pricing and TAM allocations to prepare for upcoming

27                  meetings with Seagate. In a report on the meeting, an NHK employee noted that

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 1                           MPT confirmed its pricing and HTI’s pricing, which had also been confirmed by

 2                           SAE. NHK therefore had the benefit of pricing information from three other

 3                           entities, and knowledge of the contents of MPT’s RFQ from Seagate, to inform

 4                           its RFQ response. In coordinating their pricing, NHK and MPT did not have to

 5                           submit competitive bids to win Seagate’s business but rather could charge

 6                           supracompetitive prices. NHK, SAE Magnetics, and MPT’s parent company

 7                           TDK Corp. each had a Supplement in effect at the time of these mutual

 8                           disclosures, and the disclosed business information was protected by the

 9                           Supplements.

10                       g. In June 2014, NHK and MPT discussed Seagate’s RFQ for a program, including

11                           the utilization and yield needed and bill of materials cost. The companies

12                           planned to use the shared Seagate information to coordinate their RFQ responses

13                           and “figure out how much of a premium there will be” for the project. That is,

14                           by sharing Seagate’s confidential information with each other, the two suppliers

15                           could engineer a pricing premium and inflated profit margin. NHK and MPT’s

16                           parent company both had Supplements covering these disclosures during this

17                           time period, putting both parties in breach of their respective agreements.

18              212.     That Defendants were willing to and did share otherwise confidential information is

19   evident from the results of the government investigations.             DOJ found that the conspirators

20   improperly exchanged confidential information, as reflected in NHK’s plea agreement, which states

21   that the companies “exchanged HDD suspension assemblies pricing information, including

22   anticipated pricing quotes” in order to “effectuate” their conspiratorial agreements and charge higher

23   prices.31 NHK and TDK “used the exchanged pricing information to inform their negotiations with

24   U.S. and foreign customers that purchased HDD suspension assemblies,” including Seagate.32

25              213.     As discussed above, CADE found that Defendants exchanged confidential

26   information to soften or eliminate price competition in private bidding processes and to coordinate

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          Plea Agreement ¶ 4(c).
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          Id. (emphasis added).
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 1   the division of the suspension assemblies market.         The commercially sensitive information

 2   exchanged to charge Seagate higher prices included Seagate’s confidential information protected

 3   from disclosure by its NDAs with the Defendants.

 4          214.    Likewise, the JFTC found that TDK and NHK exchanged demand forecasts and

 5   quoted pricing for RFQs to implement the conspiratorial agreement to fix prices and allocate

 6   markets. Seagate’s NDAs with Defendants encompass these types of information.

 7          215.    The Defendants exchanged Seagate’s confidential information for their own benefit,

 8   to unjustly enrich themselves, at Seagate’s expense.

 9          216.    As a direct and proximate result of the Defendants’ unlawful and inequitable conduct,

10   Seagate was damaged (and Defendants were unjustly enriched). Defendants charged and Seagate

11   paid supracompetitive prices for suspension assemblies, proximately caused by Defendants’

12   breaches of their NDAs with Seagate, throughout the Conspiracy Period.

13          217.    Defendants used confidential Seagate business information—including pricing,

14   volumes, product roadmaps and technology timelines, trends and forecasts, development plans, sub-

15   supplier information, financial information, materials, and manufacturing volumes—in furtherance

16   of their conspiracy and in order to allocate market shares, raise prices, rig bids, and disadvantage

17   Seagate in negotiations.

18          218.    Defendants’ breaches of the NDAs allowed them to charge Seagate higher prices

19   than would have prevailed if the Defendants were actively competing to supply Seagate. The

20   Defendants undermined Seagate’s ability to negotiate lower prices through the competitive bidding

21   process. Defendants had no reason to lower prices to increase (or at least maintain) their share of

22   TAM when they knew Seagate’s target TAM allocations and pricing for other suppliers. By using

23   Seagate confidential information to coordinate bids and volumes, the Defendants could avoid a

24   “bloody price war for allocation” rather than submit competitive bids and try to undercut the prices

25   of their competitors. The Defendants illegally profited at Seagate’s expense.

26          219.    More specifically as related to Seagate’s confidential prices, when one Defendant

27   learned what price Seagate demanded (in confidence) from another Defendant or discussed (in

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 1   confidence) with another Defendant, the Defendant receiving that confidential price would use it to

 2   decide what price to offer Seagate. Importantly, the Defendant receiving that confidential price

 3   would use it to set its own price at levels not too far below that price (or at times at or above that

 4   price). Seagate would then lose the benefit of the difference between the price offered and the lower

 5   price it would have been offered, if not for the breach. The exchanges of Seagate’s confidential

 6   information allowed the Defendants to align their pricing rather than offer competitive pricing. The

 7   Defendants offered higher pricing to Seagate than they would have absent the breach of the NDAs.

 8          220.    For example, in one August 2005 email, MPT referenced contacting HTI to see if it

 9   was getting the same demands from Seagate regarding Seagate’s Alpine project. By learning

10   Seagate’s confidential demands to HTI, MPT had more certainty on what to offer to Seagate, and

11   furthermore, MPT had more certainty that it did not need to offer anything more competitive (i.e.,

12   more favorable to Seagate) than what Seagate demanded confidentially from HTI. Seagate suffered

13   injury in the difference between what MPT offered to Seagate and what MPT would have offered

14   to Seagate but for the breach.

15          221.    Seagate used the common negotiation tactic of playing the suppliers off of each other

16   to obtain a lower price or other favorable term. Defendants illegally subverted this strategy by

17   sharing confidential information Seagate provided during negotiations, pursuant to the NDAs, and

18   their planned responses to Seagate. The breach of the NDAs allowed Defendants to continue to

19   offer higher prices during negotiations than they otherwise would have offered. As a result, Seagate

20   paid higher prices for suspension assemblies than it would have if not for the breach.

21          222.    By sharing Seagate’s confidential product roadmaps, development timing, and

22   forecasts, the Defendants could conduct long-term planning for their conspiracy. By knowing what

23   projects were on the horizon and which suppliers were invited to bid, they could ensure the

24   conspirators all benefited over the course of several Seagate projects. Additionally, as with pricing,

25   they could coordinate their utilization and costs across projects to inflate the material cost provided

26   to Seagate and support a higher price. With the suppliers aligned and Seagate in the dark about the

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 1   exercise of reasonable diligence, the existence of the conspiracy alleged herein until much later after

 2   the Conspiracy Period because of the deceptive practices and techniques of secrecy employed by

 3   Defendants and their co-conspirators to conceal their combination.

 4           241.    The affirmative acts of Defendants alleged herein, including acts in furtherance of

 5   the conspiracy, were wrongfully concealed and carried out in a manner that precluded detection.

 6           242.    In particular, when Seagate needed to contract for suspension assemblies, it

 7   requested bids from representatives of each Defendant. Those representatives represented that they

 8   were bidding in a serious attempt to secure the business and that their pricing reflected normal

 9   market factors like costs, demand for their products, capacity, and other lawful factors.

10           243.    Those representations were false because they failed to disclose that Defendants had

11   agreed with one another not to engage in a “price war,” exchanged information about their bids,

12   agreed to allocate market volumes, and priced based on their conspiracy and the price-fixing

13   agreements that they reached. As such, the statements made by Defendants during bidding

14   processes for Seagate’s business constituted affirmative acts of concealment of their conduct by

15   making false representations about each Defendant’s desire to provide a competitive bid and

16   justifications for its proposed prices.

17           244.    Seagate’s reliance on those representations was reasonable because competing

18   suppliers typically submit bids that reflect an effort to secure the potential business and do not

19   unlawfully coordinate on price, customer volumes, and bidding. Given these representations,

20   Seagate was reasonably diligent in discovering the facts underlying its claims. It had no reason to

21   suspect anticompetitive agreements—including that that Defendants had agreed not to engage in

22   price competition with one another—until the various government investigations brought those

23   agreements to light.

24           245.    Moreover, by its very nature, the conspiracy was inherently self-concealing.

25   Suspension assemblies are not exempt from antitrust regulation and, thus, Seagate reasonably

26   considered the suspension assembly industry to be a competitive industry. Seagate also reasonably

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 1   knowledge of Defendants), Defendants and their co-conspirators entered into a continuing contract,

 2   combination, or conspiracy to unreasonably restrain trade and commerce in violation of Section 1

 3   of the Sherman Act (15 U.S.C. § 1) by artificially reducing or eliminating competition for the pricing

 4   and supply of suspension assemblies, which had direct, substantial, and reasonably foreseeable

 5   effects on United States domestic and import commerce giving rise to Seagate’s claims.

 6              258.   In particular, Defendants and their co-conspirators have agreed, combined, and

 7   conspired to raise, fix, maintain, or stabilize the prices of and allocate market shares for suspension

 8   assemblies sold to United States purchasers during the Conspiracy Period.

 9              259.   The acts done by the Defendants as part of, and in furtherance of, their and their co-

10   conspirators’ contract, combination, or conspiracy were authorized, ordered, or done by their

11   officers, agents, employees, or representatives while actively engaged in the management of their

12   affairs.

13              260.   The agreement, combination, or conspiracy among Defendants and their co-

14   conspirators consisted of a continuing agreement, understanding, and concerted action among

15   Defendants and resulted in the fixing, raising, maintaining, and stabilizing of prices for suspension

16   assemblies in the United States and elsewhere.

17              261.   The anticompetitive acts were intentionally directed at the United States market for

18   suspension assemblies and had a substantial and foreseeable effect on interstate commerce by raising

19   and fixing prices for suspension assemblies throughout the United States.

20              262.   For purposes of formulating and effectuating their agreement, combination, or

21   conspiracy, Defendants and their co-conspirators, through their officers and employees, including

22   high-level personnel, did those things they contracted, combined, or conspired to do, including:

23                     a. Participating in meetings and conversations in the United States and elsewhere

24                        to discuss pricing and supply of suspension assemblies;

25                     b. Allocating customers and market shares among themselves;

26                     c. Agreeing to manipulate prices and supply of suspension assemblies sold in the

27                        United States in a manner that deprived Seagate of free and open competition;

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 1                  d. Exchanging competitively sensitive information, including anticipated pricing

 2                      quotes;

 3                  e. Relying on agreements not to compete and using exchanged information

 4                      including information protected by confidentiality restrictions to inform

 5                      negotiations with U.S. and foreign customers purchasing suspension assemblies;

 6                      and

 7                  f. Selling suspension assemblies to customers in the U.S. or elsewhere for

 8                      incorporation into products sold in the U.S. at supracompetitive prices.

 9          263.    As a result of the unlawful conduct and acts undertaken in furtherance of the

10   conspiracy by Defendants and their co-conspirators, Seagate’s business and property were injured,

11   in that Seagate paid more for suspension assemblies than it would have paid in the absence of

12   Defendants’ unlawful conduct.

13          264.    The alleged contract, combination, or conspiracy is a per se violation of Section 1 of

14   the Sherman Act (15 U.S.C. § 1).

15                                                COUNT II
                         Restraint of Trade in Violation of the Cartwright Act,
16
               Cal. Bus. & Prof. Code §§ 16720 et seq. (Alleged against All Defendants)
17          265.    Seagate incorporates by reference the allegations in the preceding paragraphs.
18          266.    Beginning as early as 2003 and continuing through at least April 2016 with the
19   effects continuing thereafter (the exact dates being unknown to Seagate and exclusively within the
20   knowledge of Defendants), Defendants and their co-conspirators entered into a continuing contract,
21   combination, or conspiracy to unreasonably restrain trade and commerce in violation of the
22   Cartwright Act, California Business and Professions Code §§ 16720 et seq., by artificially reducing
23   or eliminating competition for the pricing and supply of suspension assemblies with the purpose
24   and/or effect of unreasonably restraining trade and commerce in California and elsewhere.
25          267.    In particular, Defendants and their co-conspirators have agreed, combined, and
26   conspired to raise, fix, maintain, or stabilize the prices of and allocate market shares for suspension
27   assemblies sold for incorporation into HDDs purchased in California during the Conspiracy Period.
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 1              268.   The acts done by the Defendants as part of, and in furtherance of, their and their co-

 2   conspirators’ contract, combination, or conspiracy were authorized, ordered, or done by their

 3   officers, agents, employees, or representatives while actively engaged in the management of their

 4   affairs.

 5              269.   The agreement, combination, or conspiracy among Defendants and their co-

 6   conspirators consisted of a continuing agreement, understanding, and concerted action among

 7   Defendants and resulted in the fixing, raising, maintaining, and stabilizing of prices for suspension

 8   assemblies in California and elsewhere.

 9              270.   The anticompetitive acts were intentionally directed at the California market for

10   HDD suspension assemblies and had a substantial and foreseeable effect on trade and commerce in

11   California by raising and fixing prices for suspension assemblies throughout California and

12   elsewhere.

13              271.   For purposes of formulating and effectuating their agreement, combination, or

14   conspiracy, Defendants and their co-conspirators, through their officers and employees, including

15   high-level personnel, did those things they contracted, combined, or conspired to do, including:

16                     a. Participating in meetings and conversations in the United States and elsewhere

17                        to discuss pricing and supply of suspension assemblies;

18                     b. Allocating customers and market shares among themselves;

19                     c. Agreeing to manipulate prices and supply of suspension assemblies sold in the

20                        United States in a manner that deprived Seagate of free and open competition;

21                     d. Exchanging competitively sensitive information, including anticipated pricing

22                        quotes;

23                     e. Relying on agreements not to compete and using exchanged information

24                        including information protected by confidentiality restrictions to inform

25                        negotiations with U.S. and foreign customers purchasing HDD suspension

26                        assemblies; and

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 1                     f. Selling suspension assemblies to customers in the U.S. or elsewhere for

 2                        incorporation into products sold in the U.S. at supracompetitive prices.

 3              272.   As a result of the unlawful conduct and acts undertaken in furtherance of the

 4   conspiracy by Defendants and their co-conspirators, Seagate’s business and property were injured,

 5   in that Seagate paid more for suspension assemblies than it would have paid in the absence of

 6   Defendants’ unlawful conduct.

 7              273.   The alleged contract, combination, or conspiracy is a per se violation of the

 8   Cartwright Act, California Business and Professions Code §§ 16720 et seq.

 9                                                 COUNT III
                            Violation of the California Unfair Competition Law,
10
                  Cal. Bus. & Prof. Code §§ 17200 et seq. (Alleged against All Defendants)
11              274.   Seagate incorporates by reference the allegations in the preceding paragraphs.
12              275.   Beginning as early as 2003 and continuing through at least April 2016 with the
13   effects continuing thereafter (the exact dates being unknown to Seagate and exclusively within the
14   knowledge of Defendants), Defendants and their co-conspirators entered into a continuing contract,
15   combination, or conspiracy to unreasonably restrain trade and commerce constituting unfair
16   competition in violation of the Unfair Competition Law, California Business and Professions Code
17   §§ 17200 et seq., by artificially reducing or eliminating competition for the pricing and supply of
18   suspension assemblies with the purpose and/or effect of unreasonably restraining trade and
19   commerce in California and elsewhere.
20              276.   In particular, Defendants and their co-conspirators have agreed, combined, and
21   conspired to raise, fix, maintain, or stabilize the prices of and allocate market shares for suspension
22   assemblies sold to purchasers in California during the Conspiracy Period.
23              277.   The acts done by the Defendants as part of, and in furtherance of, their and their co-
24   conspirators’ contract, combination, or conspiracy were authorized, ordered, or done by their
25   officers, agents, employees, or representatives while actively engaged in the management of their
26   affairs.
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 1          278.     The agreement, combination, or conspiracy among Defendants and their co-

 2   conspirators consisted of a continuing agreement, understanding, and concerted action among

 3   Defendants and resulted in the fixing, raising, maintaining, and stabilizing of prices for suspension

 4   assemblies in California and elsewhere.

 5          279.     The anticompetitive acts were intentionally directed at the California market for

 6   suspension assemblies and had a substantial and foreseeable effect on trade and commerce in

 7   California by raising and fixing prices for suspension assemblies throughout California and

 8   elsewhere.

 9          280.     For purposes of formulating and effectuating their agreement, combination, or

10   conspiracy, Defendants and their co-conspirators, through their officers and employees, including

11   high-level personnel, did those things they contracted, combined, or conspired to do, including:

12                a. Participating in meetings and conversations in the United States and elsewhere to

13                   discuss pricing and supply of suspension assemblies;

14                b. Allocating customers and market shares among themselves;

15                c. Agreeing to manipulate prices and supply of suspension assemblies sold in the

16                   United States in a manner that deprived Seagate of free and open competition;

17                d. Exchanging competitively sensitive information, including anticipated pricing

18                   quotes;

19                e. Relying on agreements not to compete and using exchanged information including

20                   information protected by confidentiality restrictions to inform negotiations with U.S.

21                   and foreign customers purchasing suspension assemblies; and

22                f. Selling suspension assemblies to customers in the U.S. or elsewhere for

23                   incorporation into products sold in the U.S. at supracompetitive prices.

24          281.     As a result of the unlawful conduct and acts undertaken in furtherance of the

25   conspiracy by Defendants and their co-conspirators, Seagate’s business and property were injured,

26   in that Seagate paid more for suspension assemblies than it would have paid in the absence of

27   Defendants’ unlawful conduct.

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 1              282.   The alleged contract, combination, or conspiracy is an unlawful, fraudulent, and/or

 2   unfair act or practice constituting unfair competition in violation of the Unfair Competition Law,

 3   California Business and Professions Code §§ 17200 et seq.

 4                                                 COUNT IV
                  Restraint of Trade in Violation of the Minnesota Antitrust Law of 1971,
 5
                       Minn. Stat. §§ 325D.49-.66 (Alleged against All Defendants)
 6              283.   Seagate incorporates by reference the allegations in the preceding paragraphs.
 7              284.   Beginning as early as 2003 and continuing through at least April 2016 with the
 8   effects continuing thereafter (the exact dates being unknown to Seagate and exclusively within the
 9   knowledge of Defendants), Defendants and their co-conspirators entered into a continuing contract,
10   combination, or conspiracy to unreasonably restrain trade and commerce in violation of the
11   Minnesota Antitrust Law of 1971, Minnesota Statutes §§ 325D.49-.66, by artificially reducing or
12   eliminating competition for the pricing and supply of suspension assemblies with the purpose and/or
13   effect of unreasonably restraining trade and commerce in Minnesota and elsewhere.
14              285.   In particular, Defendants and their co-conspirators have agreed, combined, and
15   conspired to raise, fix, maintain, or stabilize the prices of and allocate market shares for suspension
16   assemblies sold to and purchased by Seagate LLC in Minnesota during the Conspiracy Period.
17              286.   Additionally, Defendants and their co-conspirators have agreed, combined, and
18   conspired to raise, fix, maintain, or stabilize the prices of and allocate market shares for suspension
19   assemblies sold to and purchased by Seagate delivered outside of Minnesota for hard disk drives
20   ordered from and delivered to Minnesota during the Conspiracy Period.
21              287.   Defendants and their co-conspirators negotiated and entered into agreements in
22   Minnesota with Seagate LLC for the supply of suspension assemblies affected by the conspiracy.
23              288.   The acts done by the Defendants as part of, and in furtherance of, their and their co-
24   conspirators’ contract, combination, or conspiracy were authorized, ordered, or done by their
25   officers, agents, employees, or representatives while actively engaged in the management of their
26   affairs.
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 1           296.   Seagate provided Defendants with confidential business information pursuant to

 2   these NDAs as intended.

 3           297.   Seagate LLC, and its affiliates, have fully performed all of their duties and

 4   obligations under the NDAs.

 5           298.   Pursuant to the NDAs, Defendants were required to, among other things, use

 6   Seagate’s confidential business information only as specified and protect Seagate’s confidential

 7   business information from unauthorized disclosure.

 8           299.   Defendants were not to use Seagate’s confidential information to conspire with one

 9   another against Seagate or to illegally raise prices to Seagate or allocate supply shares among

10   themselves.

11           300.   Defendants breached these obligations by misusing, exchanging, and/or disclosing

12   Seagate’s confidential business information, as set forth herein. Throughout the Conspiracy Period,

13   NHK, TDK, and HTI each shared information that Seagate had provided it under the NDAs with

14   each of the other Defendant families, in violation of their NDAs with Seagate.

15           301.   The Defendants used the Seagate confidential information to avoid underbidding

16   each other, keep sales prices above the competitive level that otherwise would have obtained, and

17   maintain and implement their market share allocation.

18           302.   All Defendants breached their NDAs with Seagate by exchanging Seagate

19   confidential information protected by those NDAs, and the breach caused injury to Seagate. As a

20   direct and proximate result of Defendants’ breach of the NDAs, Seagate has suffered actual damages

21   in the form of unlawfully inflated prices for suspension assemblies, and Defendants have been

22   unjustly enriched at Seagate’s expense. Seagate paid more than it otherwise would have paid in the

23   absence of the Defendants’ improper use of Seagate’s confidential information protected by the

24   NDAs.

25   IX.     DEMAND FOR JUDGMENT

26           WHEREFORE, Seagate demands judgment in Seagate’s favor and against all Defendants

27   adjudging and decreeing that:

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 1   Dated: April 15, 2021                       /s/ Kenneth R. O’Rourke_______
                                                 Kenneth R. O’Rourke
 2
                                                 Jeff VanHooreweghe
 3                                               Mikaela E. Evans-Aziz (admitted pro hac vice)
                                                 WILSON SONSINI GOODRICH & ROSATI
 4                                               Professional Corporation
                                                 One Market Plaza
 5                                               Spear Tower, Suite 3300
 6                                               San Francisco, CA 94105
                                                 Telephone: (415) 947-2000
 7                                               Facsimile: (415) 947-2099
                                                 korourke@wsgr.com
 8                                               jvanhooreweghe@wsgr.com
                                                 mevansaziz@wsgr.com
 9

10                                               Counsel for Plaintiffs Seagate Technology LLC,
                                                 Seagate Technology (Thailand) Ltd., Seagate
11                                               Singapore International Headquarters Pte. Ltd.,
                                                 and Seagate Technology International
12

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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA                               Criminal No.:

                                                       Judge:
              v.
                                                       Violation: 15 U.S.C. § 1
D-l: NHK SPRING CO., LTD.,                             Sherman Act Conspiracy

              Defendant.                               Maximum Fine: Greater of $ 100 million,
                                                       twice the gross gain, or twice the gross loss
                                                       (15 U.S.C. §1; 18 U.S.C. § 3571(c) and (d))

                                                       Maximum Period of Probation: Five years



                                 RULE 11 PLEA AGREEMENT

       The United States of America and NHK Spring Co., Ltd. (the “defendant”)，a corporation

organized and existing under the laws of Japan, hereby enter into the following Plea Agreement

pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure (“Fed. R. Crim. P.’’):

                                   RIGHTS OF DEFENDANT

               The defendant understands its rights:

               ⑻       to be represented by an attorney;

               (b)     to be charged by indictment;

               ⑹       to plead not guilty to any criminal charge brought against it;

               (d)     to have a trial by jury, at which it would be presumed not guilty of the

       charge and the United States would have to prove every essential element of the charged

       offense beyond a reasonable doubt for it to be found guilty;

               ⑻        to confront and cross-examine witnesses against it and to subpoena

       witnesses in its defense at trial;
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       does not affect the rights or obligations of the United States as set forth in 18 U.S.C.

       § 3742(b)-(c).

Nothing in this paragraph will act as a bar to the defendant perfecting any legal remedies it may

otherwise have on appeal or collateral attack respecting claims of ineffective assistance of

counsel or prosecutorial misconduct. The defendant agrees that there is currently no known

evidence of ineffective assistance of counsel or prosecutorial misconduct. Pursuant to Fed. R.

Crim. P. 7(b), the defendant will waive indictment and plead guilty to a one-count Information to

be filed in the United States District Court for the Eastern District of Michigan. The Information

will charge the defendant with participating in a conspiracy to suppress and eliminate

competition by fixing prices for hard disk drive suspension assemblies (“HDD suspension

assemblies”) sold in the United States and elsewhere，from at least as early as May 2008 and

continuing until at least April 2016, in violation of the Sherman Antitrust Act, 15 U.S.C. § 1.

       3.      The defendant will plead guilty to the criminal charge described in Paragraph 2

above, pursuant to the terms of this Plea Agreement, and will make a factual admission of guilt

to the Court in accordance with Fed. R. Crim. P. 11, as set forth in Paragraph 4 below.

                        FACTUAL BASIS FOR OFFENSE CHARGED

       4.      The United States and the defendant agree that, had this case gone to trial, the

United States would have presented evidence sufficient to prove the following facts:

               (a)      For purposes of this Plea Agreement, the “relevant period” is that period

       from at least as early as May 2008 and continuing until at least April 2016.

               (b)      During the relevant period, the defendant was a corporation organized and

       existing under the laws of Japan, with its principal place of business in Yokohama, Japan,

       and it employed more than 5,000 people. During the relevant period, the defendant was a


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      producer of HDD suspension assemblies and was engaged in the sale of HDD suspension

      assemblies in the United States and elsewhere. HDD suspension assemblies are

      components of hard disk drives, which are used to store information electronically and

      maybe incorporated into computers or sold as stand-alone electronic storage devices.

      Hard disk drives use magnetic recording heads to read from and write onto rapidly

      spinning disks. HDD suspension assemblies hold the recording heads in close proximity

      to the disks and provide the electrical connection from the recording heads to the hard

      disk drives，circuitry.

             (c)     During the relevant period, the defendant, through its officers and

      employees working in its hard disk drive division, including its high-level personnel,

      participated in a conspiracy with other persons and an entity (Company A) engaged in the

      production and sale of HDD suspension assemblies, the primary purpose of which was to

      fix the prices of HDD suspension assemblies sold in the United States and elsewhere. In

      furtherance of the conspiracy, the defendant, through certain of those officers and

      employees, engaged in discussions and attended meetings with Company A, through

      Company A’s employees and officers. During these discussions and meetings，the

      defendant and Company A reached agreements to refrain from competing on prices for,

      fix the prices of, and allocate their respective market shares for, HDD suspension

      assemblies to be sold in the United States and elsewhere. To effectuate these agreements,

      employees and officers of the defendant and Company A exchanged HDD suspension

      assemblies pricing information, including anticipated pricing quotes, in the United States

      and elsewhere. The defendant and Company A relied on their agreements not to compete

      and used the exchanged pricing information to inform their negotiations with U.S. and


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               25.    A facsimile or PDF signature will be deemed an original signature for the purpose

      of executing this Pica Agreement. Multiple signature pages are authorized for the purpose of

      executing this Plea Agreement.



      DATED:


      by^.C>,        —
                     —                                          JAMES J. FREDRICKS
            Toru Sugiyama//V                                    Chief, Washington Criminal II
            Representative Director                             Antitrust Division
            Executive Vice President                            U.S. Department of Justice
            NHK Spring Co., Ltd.


      BY:                                                 BY:
            CRAIG Y. LEE                                        CHRISTINA J. BROWN
            PETER P. TOMCZAK                                    MICHAEL T. KOENIG
            Baker & McKenzie LLP                                Trial Attorneys, Antitrust Division
                                                                U.S. Department of Justice
            AKIRA INOUE                                         450 5th Street NW, Suite 11-300
            Baker & McKenzie (Gaikokuho Joint Enterprise)       Washington, DC 20001
                                                                Tel: (202) 598-8839
            Counsel for NHK Spring Co., Ltd.                    cb'istina.brown@usdoj .gov




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            25.    A facsimile or PDF signature will be deemed an original signature for the purpose

   of executing this Plea Agreement. Multiple signature pages are authorized for the purpose of

   executing this Plea Agreement.



   DATED:          H^l \°\
   by^9-〜                                                    JAMES J. FREDRICKS
         Toru Sugiyama/y                                     Chief, Washington Criminal II
         Representative bîrector                             Antitrust Division
         Executive Vice President                            U.S. Department of Justice
         NHK Spring Co., Ltd.


   BY:                                                 BY:
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         25.    A facsimile or PDF signature will be deemed an original signature for the purpose

of executing this Plea Agreement. Multiple signature pages are authorized for the purpose of

executing this Plea Agreement.



DATED:


BY:                                                        JAMES J. FREDRICKS
      Tom Sugiyama                                         Chief, Washington Criminal II
      Representative Director                              Antitrust Division
      Executive Vice President                             U.S. Department of Justice
      NHK Spring Co., Ltd.


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                  Exhibit 33

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11

12

13                               UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
15
     IN RE: HARD DISK DRIVE SUSPENSION                     Case Nos. 3:19-md-02918-MMC
16   ASSEMBLIES ANTITRUST LITIGATION                                 3:20-cv-01217-MMC
17
                                                           MDL No. 2918
18

19   THIS DOCUMENT RELATES TO                              SEAGATE PLAINTIFFS’ SECOND
                                                           AMENDED COMPLAINT FOR
20   Seagate Technology LLC et al. v. Headway              DAMAGES AND OTHER RELIEF
     Technologies, Inc. et al., Case No. 3:20-cv-
21   01217-MMC                                             JURY TRIAL DEMANDED

22                                                         Hon. Maxine M. Chesney

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 1   telephone and electronic means with one another in Minnesota and with Seagate CMT in Minnesota

 2   to negotiate Seagate’s purchase of suspension assemblies during the Conspiracy Period.

 3          158.    During negotiations with Seagate CMT in Minnesota, Defendants proposed prices,

 4   pricing terms, technologies and product designs, and other supply terms to Seagate, including prices,

 5   pricing terms, and technologies affected by the conspiracy.

 6          159.    After negotiating prices, pricing terms, supply terms, product designs, and

 7   production costs in Minnesota with Defendants, Seagate LLC purchased suspension assemblies

 8   affected by the conspiracy in Minnesota.

 9          160.    After negotiating prices, pricing terms, supply terms, product designs, and

10   production costs in Minnesota with Defendants, Seagate LLC entered agreements in Minnesota with

11   Defendants for the supply of suspension assemblies affected by the conspiracy.

12          161.    After negotiating prices, pricing terms, supply terms, product designs, and

13   production costs in Minnesota with Seagate CMT, Defendants shipped suspension assemblies

14   affected by the conspiracy to Seagate LLC in Minnesota.

15          162.    After negotiating prices, pricing terms, supply terms, product designs, and

16   production costs in Minnesota with Seagate CMT, Defendants shipped suspension assemblies

17   affected by the conspiracy to Seagate’s offices outside of Minnesota for incorporation into hard disk

18   drives delivered to Minnesota.

19          163.    Defendants supplied suspension assemblies to Seagate LLC in Minnesota and to

20   Seagate outside of Minnesota for incorporation into hard disk drives delivered to Minnesota on a

21   regular basis every year since at least 2003, the beginning of the Conspiracy Period.

22          164.    In part to facilitate the supply of suspension assemblies in Minnesota, all three

23   Defendant suppliers of suspension assemblies—HTI, NHK, and TDK/MPT—maintained a presence

24   in Minnesota during much of the Conspiracy Period.

25          165.    Defendant HTI was headquartered in Minnesota throughout the Conspiracy Period,

26   until eliminated by Defendant TDK in 2016. Defendant HTI employed thousands of employees in

27   Minnesota during the Conspiracy Period, and manufactured and sold suspension assemblies in

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 1   supracompetitive prices. Defendants were fully aware that these suspension assemblies would be

 2   in products destined for customers in California, Minnesota, and elsewhere in the United States.

 3          228.    All three Defendants—HTI, NHK, and TDK—also primarily negotiated sales of

 4   suspension assemblies via in-person meetings in the United States, including in Minnesota and

 5   California, telephone and video conferences in the United States, including in Minnesota and

 6   California, and email communications sent from the United States, including in Minnesota and

 7   California.

 8          229.    For these and other reasons, Defendants therefore knowingly and intentionally sent

 9   price-fixed suspension assemblies into the stream of commerce of the United States, including the

10   commerce of Minnesota and California. Such conduct was meant to produce and did in fact produce

11   a direct, substantial, and reasonably foreseeable harmful effect on domestic and import commerce

12   in the United States in the form of artificially high prices being paid for suspension assemblies by

13   U.S. customers, including Seagate. Defendants engaged in illegal conduct both inside and outside

14   of the United States that caused direct, substantial, and reasonably foreseeable anticompetitive

15   effects on domestic and import commerce in the United States.

16          230.    Defendants’ unlawful activities with respect to Seagate’s purchases of suspension

17   assemblies had, and continue to have, a direct, substantial, and reasonably foreseeable effect on

18   United States domestic and import commerce, including commerce in this judicial district and in

19   Minnesota and California, that gives rise to the claims asserted herein.

20          231.    The unlawful conduct described herein, and its anticompetitive effect on U.S.

21   domestic and import commerce, caused antitrust injury to Seagate in the United States, including in

22   Minnesota and California, in the form of supracompetitive prices for suspension assemblies, which

23   were the natural, foreseeable, and intended consequence of Defendants’ anticompetitive conduct. It

24   also caused antitrust injury to Seagate arising directly from the unlawful conduct’s impact on U.S.

25   import trade and commerce in the form of supracompetitive prices for suspension assemblies

26   purchased for incorporation into HDD products to be sold in the United States.

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 1                  d. Exchanging competitively sensitive information, including anticipated pricing

 2                      quotes;

 3                  e. Relying on agreements not to compete and using exchanged information

 4                      including information protected by confidentiality restrictions to inform

 5                      negotiations with U.S. and foreign customers purchasing suspension assemblies;

 6                      and

 7                  f. Selling suspension assemblies to customers in the U.S. or elsewhere for

 8                      incorporation into products sold in the U.S. at supracompetitive prices.

 9          263.    As a result of the unlawful conduct and acts undertaken in furtherance of the

10   conspiracy by Defendants and their co-conspirators, Seagate’s business and property were injured,

11   in that Seagate paid more for suspension assemblies than it would have paid in the absence of

12   Defendants’ unlawful conduct.

13          264.    The alleged contract, combination, or conspiracy is a per se violation of Section 1 of

14   the Sherman Act (15 U.S.C. § 1).

15                                                COUNT II
                         Restraint of Trade in Violation of the Cartwright Act,
16
               Cal. Bus. & Prof. Code §§ 16720 et seq. (Alleged against All Defendants)
17          265.    Seagate incorporates by reference the allegations in the preceding paragraphs.
18          266.    Beginning as early as 2003 and continuing through at least April 2016 with the
19   effects continuing thereafter (the exact dates being unknown to Seagate and exclusively within the
20   knowledge of Defendants), Defendants and their co-conspirators entered into a continuing contract,
21   combination, or conspiracy to unreasonably restrain trade and commerce in violation of the
22   Cartwright Act, California Business and Professions Code §§ 16720 et seq., by artificially reducing
23   or eliminating competition for the pricing and supply of suspension assemblies with the purpose
24   and/or effect of unreasonably restraining trade and commerce in California and elsewhere.
25          267.    In particular, Defendants and their co-conspirators have agreed, combined, and
26   conspired to raise, fix, maintain, or stabilize the prices of and allocate market shares for suspension
27   assemblies sold for incorporation into HDDs purchased in California during the Conspiracy Period.
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 1              268.   The acts done by the Defendants as part of, and in furtherance of, their and their co-

 2   conspirators’ contract, combination, or conspiracy were authorized, ordered, or done by their

 3   officers, agents, employees, or representatives while actively engaged in the management of their

 4   affairs.

 5              269.   The agreement, combination, or conspiracy among Defendants and their co-

 6   conspirators consisted of a continuing agreement, understanding, and concerted action among

 7   Defendants and resulted in the fixing, raising, maintaining, and stabilizing of prices for suspension

 8   assemblies in California and elsewhere.

 9              270.   The anticompetitive acts were intentionally directed at the California market for

10   HDD suspension assemblies and had a substantial and foreseeable effect on trade and commerce in

11   California by raising and fixing prices for suspension assemblies throughout California and

12   elsewhere.

13              271.   For purposes of formulating and effectuating their agreement, combination, or

14   conspiracy, Defendants and their co-conspirators, through their officers and employees, including

15   high-level personnel, did those things they contracted, combined, or conspired to do, including:

16                     a. Participating in meetings and conversations in the United States and elsewhere

17                        to discuss pricing and supply of suspension assemblies;

18                     b. Allocating customers and market shares among themselves;

19                     c. Agreeing to manipulate prices and supply of suspension assemblies sold in the

20                        United States in a manner that deprived Seagate of free and open competition;

21                     d. Exchanging competitively sensitive information, including anticipated pricing

22                        quotes;

23                     e. Relying on agreements not to compete and using exchanged information

24                        including information protected by confidentiality restrictions to inform

25                        negotiations with U.S. and foreign customers purchasing HDD suspension

26                        assemblies; and

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 1                     f. Selling suspension assemblies to customers in the U.S. or elsewhere for

 2                        incorporation into products sold in the U.S. at supracompetitive prices.

 3              272.   As a result of the unlawful conduct and acts undertaken in furtherance of the

 4   conspiracy by Defendants and their co-conspirators, Seagate’s business and property were injured,

 5   in that Seagate paid more for suspension assemblies than it would have paid in the absence of

 6   Defendants’ unlawful conduct.

 7              273.   The alleged contract, combination, or conspiracy is a per se violation of the

 8   Cartwright Act, California Business and Professions Code §§ 16720 et seq.

 9                                                 COUNT III
                            Violation of the California Unfair Competition Law,
10
                  Cal. Bus. & Prof. Code §§ 17200 et seq. (Alleged against All Defendants)
11              274.   Seagate incorporates by reference the allegations in the preceding paragraphs.
12              275.   Beginning as early as 2003 and continuing through at least April 2016 with the
13   effects continuing thereafter (the exact dates being unknown to Seagate and exclusively within the
14   knowledge of Defendants), Defendants and their co-conspirators entered into a continuing contract,
15   combination, or conspiracy to unreasonably restrain trade and commerce constituting unfair
16   competition in violation of the Unfair Competition Law, California Business and Professions Code
17   §§ 17200 et seq., by artificially reducing or eliminating competition for the pricing and supply of
18   suspension assemblies with the purpose and/or effect of unreasonably restraining trade and
19   commerce in California and elsewhere.
20              276.   In particular, Defendants and their co-conspirators have agreed, combined, and
21   conspired to raise, fix, maintain, or stabilize the prices of and allocate market shares for suspension
22   assemblies sold to purchasers in California during the Conspiracy Period.
23              277.   The acts done by the Defendants as part of, and in furtherance of, their and their co-
24   conspirators’ contract, combination, or conspiracy were authorized, ordered, or done by their
25   officers, agents, employees, or representatives while actively engaged in the management of their
26   affairs.
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 1          278.     The agreement, combination, or conspiracy among Defendants and their co-

 2   conspirators consisted of a continuing agreement, understanding, and concerted action among

 3   Defendants and resulted in the fixing, raising, maintaining, and stabilizing of prices for suspension

 4   assemblies in California and elsewhere.

 5          279.     The anticompetitive acts were intentionally directed at the California market for

 6   suspension assemblies and had a substantial and foreseeable effect on trade and commerce in

 7   California by raising and fixing prices for suspension assemblies throughout California and

 8   elsewhere.

 9          280.     For purposes of formulating and effectuating their agreement, combination, or

10   conspiracy, Defendants and their co-conspirators, through their officers and employees, including

11   high-level personnel, did those things they contracted, combined, or conspired to do, including:

12                a. Participating in meetings and conversations in the United States and elsewhere to

13                   discuss pricing and supply of suspension assemblies;

14                b. Allocating customers and market shares among themselves;

15                c. Agreeing to manipulate prices and supply of suspension assemblies sold in the

16                   United States in a manner that deprived Seagate of free and open competition;

17                d. Exchanging competitively sensitive information, including anticipated pricing

18                   quotes;

19                e. Relying on agreements not to compete and using exchanged information including

20                   information protected by confidentiality restrictions to inform negotiations with U.S.

21                   and foreign customers purchasing suspension assemblies; and

22                f. Selling suspension assemblies to customers in the U.S. or elsewhere for

23                   incorporation into products sold in the U.S. at supracompetitive prices.

24          281.     As a result of the unlawful conduct and acts undertaken in furtherance of the

25   conspiracy by Defendants and their co-conspirators, Seagate’s business and property were injured,

26   in that Seagate paid more for suspension assemblies than it would have paid in the absence of

27   Defendants’ unlawful conduct.

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 1              282.   The alleged contract, combination, or conspiracy is an unlawful, fraudulent, and/or

 2   unfair act or practice constituting unfair competition in violation of the Unfair Competition Law,

 3   California Business and Professions Code §§ 17200 et seq.

 4                                                 COUNT IV
                  Restraint of Trade in Violation of the Minnesota Antitrust Law of 1971,
 5
                       Minn. Stat. §§ 325D.49-.66 (Alleged against All Defendants)
 6              283.   Seagate incorporates by reference the allegations in the preceding paragraphs.
 7              284.   Beginning as early as 2003 and continuing through at least April 2016 with the
 8   effects continuing thereafter (the exact dates being unknown to Seagate and exclusively within the
 9   knowledge of Defendants), Defendants and their co-conspirators entered into a continuing contract,
10   combination, or conspiracy to unreasonably restrain trade and commerce in violation of the
11   Minnesota Antitrust Law of 1971, Minnesota Statutes §§ 325D.49-.66, by artificially reducing or
12   eliminating competition for the pricing and supply of suspension assemblies with the purpose and/or
13   effect of unreasonably restraining trade and commerce in Minnesota and elsewhere.
14              285.   In particular, Defendants and their co-conspirators have agreed, combined, and
15   conspired to raise, fix, maintain, or stabilize the prices of and allocate market shares for suspension
16   assemblies sold to and purchased by Seagate LLC in Minnesota during the Conspiracy Period.
17              286.   Additionally, Defendants and their co-conspirators have agreed, combined, and
18   conspired to raise, fix, maintain, or stabilize the prices of and allocate market shares for suspension
19   assemblies sold to and purchased by Seagate delivered outside of Minnesota for hard disk drives
20   ordered from and delivered to Minnesota during the Conspiracy Period.
21              287.   Defendants and their co-conspirators negotiated and entered into agreements in
22   Minnesota with Seagate LLC for the supply of suspension assemblies affected by the conspiracy.
23              288.   The acts done by the Defendants as part of, and in furtherance of, their and their co-
24   conspirators’ contract, combination, or conspiracy were authorized, ordered, or done by their
25   officers, agents, employees, or representatives while actively engaged in the management of their
26   affairs.
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 1          289.    The agreement, combination, or conspiracy among Defendants and their co-

 2   conspirators consisted of a continuing agreement, understanding, and concerted action among

 3   Defendants and resulted in the fixing, raising, maintaining, and stabilizing of prices for suspension

 4   assemblies in Minnesota and elsewhere.

 5          290.    The anticompetitive acts were intentionally carried out in Minnesota, directed at

 6   suspension assemblies purchased by Seagate LLC in Minnesota and supplied to Seagate LLC in

 7   Minnesota, and had a substantial and foreseeable effect on trade and commerce in Minnesota by

 8   raising and fixing prices for suspension assemblies throughout Minnesota and elsewhere.

 9          291.    As a result of the unlawful conduct and acts undertaken in furtherance of the

10   conspiracy by Defendants and their co-conspirators, Seagate LLC’s business and property were

11   injured in Minnesota, in that Seagate LLC paid more for suspension assemblies than it would have

12   paid in the absence of Defendants’ unlawful conduct.

13          292.    The alleged contract, combination, or conspiracy is a per se violation of the

14   Minnesota Antitrust Law of 1971, Minnesota Statutes §§ 325D.49-.66.

15                                               COUNT V

16    Breach of Contract – Nondisclosure Agreements (Against All Defendants except Headway)

17          293.    Seagate incorporates by reference the allegations in the preceding paragraphs.

18          294.    Defendants executed Master Nondisclosure Agreements with Seagate LLC,

19   including Supplements thereto, during the Conspiracy Period which were valid and binding

20   contracts.

21          295.    The parties contemplated disclosure of confidential business and technical

22   information by Seagate LLC as well as its corporate affiliates as a necessary part of purchasing

23   suspension assemblies from the Defendants. Without providing design specifications, volume

24   forecasts, capacity, product roadmaps, and pricing information, Seagate would not be able to ensure

25   a steady supply of components for its current and future products. Accordingly, Seagate and

26   Defendants entered NDAs to protect these disclosures of proprietary and competitively sensitive

27   information and to confer a direct benefit upon Seagate LLC as well as its corporate affiliates.

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                                  UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
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17   IN RE: HARD DISK DRIVE SUSPENSION               Case Nos. 3:19-md-02918-MMC
     ASSEMBLIES ANTITRUST LITIGATION                           3:20-cv-01217-MMC
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                                                     MDL No. 2918
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     THIS DOCUMENT RELATES TO
20                                                   AMENDED ANSWER OF NHK
21   Seagate Technology LLC et al. v. Headway        DEFENDANTS TO SEAGATE PLAINTIFFS’
     Technologies, Inc. et al., Case No. 3:20-cv-    SECOND AMENDED COMPLAINT
22   01217-MMC
                                                     Hon. Maxine M. Chesney
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               AMENDED ANSWER OF NHK DEFENDANTS TO SEAGATE PLAINTIFFS’ COMPLAINT
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 1                                        THIRTEENTH DEFENSE
 2                  (Remedies Unconstitutional, Unauthorized or Contrary to Public Policy)

 3          Seagate Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or

 4   in part, because the remedies sought, particularly the recovery of legal and equitable relief under

 5   federal and California and Minnesota state law based on foreign manufacturing, marketing, and sales

 6   by and between foreign entities, or the recovery of duplicative or excessive relief, are

 7   unconstitutional, contrary to public policy, or are otherwise unauthorized. In addition, to the extent

 8   Seagate Plaintiffs have asserted claims for which they are seeking treble damages, and as to which

 9   Seagate Plaintiffs have passed on the alleged overcharge, then the recovery by Seagate Plaintiffs of

10   treble damages without a reduction would lead to disproportionate punitive damages that are

11   unconstitutional and contrary to public policy.

12                                       FOURTEENTH DEFENSE
13                                      (Unjust Enrichment and Pass-on)

14          Seagate Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or

15   in part, because Seagate Plaintiffs would be unjustly enriched if they are allowed to recover the

16   damages alleged in the complaint; and to the extent that Seagate Plaintiffs seek damages for any

17   alleged overcharge that they passed on to other entities or individuals. Upon information and belief,

18   Seagate Plaintiffs were aware or should have been aware of the conduct alleged in the complaint

19   prior to 2016; they provided to third-parties, including other HDD Suspension manufacturers,

20   information that they now claim was confidential and subject to non-disclosure agreements; and they

21   passed on any overcharges to their customers and/or others in the distribution chain, including at

22   least original equipment manufacturers, distributors, and retailers.

23                                      RESERVATION OF RIGHTS
24          NHK Defendants have not knowingly or intentionally waived any applicable defenses and

25   explicitly reserve the right to move to amend under Federal Rule of Civil Procedure 15 to assert and

26   rely on such other applicable defenses as may become available or apparent during discovery

27   proceedings. NHK Defendants further reserve the right to move to amend their Answer and/or their

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               AMENDED ANSWER OF NHK DEFENDANTS TO SEAGATE PLAINTIFFS’ COMPLAINT
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 1   defenses accordingly and/or to delete defenses that they determine are not applicable during the

 2   course of subsequent discovery.

 3                                        PRAYER FOR RELIEF
 4          WHEREFORE, NHK Defendants request entry of judgment in their favor, as follows:

 5              1. Dismissal of the Complaint with prejudice;

 6              2. For interests and costs pursuant to statute, contract, and based upon equitable

 7                  principles; and

 8              3. For such other and further relief as the Court deems just and equitable.

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               AMENDED ANSWER OF NHK DEFENDANTS TO SEAGATE PLAINTIFFS’ COMPLAINT
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 1   Dated: July 6, 2021                Respectfully submitted,

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                                        (Dong Guan) Co., Ltd. and NAT Peripheral
16                                      (H.K.) Co., Ltd.

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              AMENDED ANSWER OF NHK DEFENDANTS TO SEAGATE PLAINTIFFS’ COMPLAINT
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                      Ltd., NAT Peripheral (Dong Guan) Co., Ltd.,
              11      NAT Peripheral (H.K.) Co., Ltd., NHK Spring
                      (Thailand) Co., Ltd., NHK International Corp.
              12

              13                                  UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF CALIFORNIA
              14
                                                     SAN FRANCISCO DIVISION
              15

              16      IN RE: HARD DISK DRIVE SUSPENSION                  Case No. 3:19-md-02918-MMC
                      ASSEMBLIES ANTITRUST LITIGATION
              17                                                         MDL No. 2918

              18                                                         DEFENDANTS’ OPPOSITION TO
                      THIS DOCUMENT RELATES TO ALL                       SEAGATE’S MOTION FOR A
              19      ACTIONS                                            SCHEDULING ORDER SETTING TRIAL
                                                                         [ECF No. 350] AND NOTICE OF CROSS-
              20                                                         MOTION AND CROSS-MOTION FOR A
                                                                         SCHEDULING ORDER
              21
                                                                         Judge:       Hon. Maxine M. Chesney
              22                                                         Date:        May 21, 2021
                                                                         Time:        9:00 AM
              23                                                         Courtroom:   7, 19th Floor
              24

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MORGAN, LEWIS &
 BOCKIUS LLP          DEFENDANTS’ OPPOSITION TO SEAGATE’S MOTION FOR A SCHEDULING               Case No. 3:19-md-02918-MMC
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                  1                            NOTICE OF CROSS-MOTION AND MOTION

                  2          PLEASE TAKE NOTICE that on May 21, 2021 at 9:00 am, or as soon thereafter as the

                  3   matter may be heard, in Courtroom 7, 19th Floor, 4550 Golden Gate Ave., San Francisco, before the

                  4   Hon. Maxine M. Chesney, Defendants TDK Corporation, Magnecomp Precision Technology Public

                  5   Co., Ltd., SAE Magnetics (H.K.) Ltd., Hutchison Technology Inc., Headway Technologies, Inc.,

                  6   NHK Spring Co., Ltd., NAT Peripheral (Dong Guan) Co., Ltd., NAT Peripheral (H.K.) Co., Ltd.,

                  7   NHK Spring (Thailand) Co., Ltd., and NHK International Corp. (collectively, “Defendants”) will

                  8   and hereby do move the Court for an order establishing a consolidated pretrial schedule for all cases

                  9   in this MDL.

             10              Pursuant to Federal Rules of Civil Procedure 16 and 42(a), along with the Court’s inherent

             11       authority to manage this MDL, Defendants respectfully request that the Court enter the proposed

             12       schedule, attached as Exhibit A hereto.

             13              This Cross-Motion is supported by this Notice of Cross-Motion, the Memorandum of Points

             14       and Authorities that follows, all pleadings and papers filed in this action, and such other and further

             15       argument as the Court may require.

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MORGAN, LEWIS &
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  SAN FRANCISCO      DEFENDANTS’ OPPOSITION TO SEAGATE’S MOTION FOR A SCHEDULING                                                 Case No. 3:19-md-02918-MMC
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                  1                           MEMORANDUM OF POINTS AND AUTHORITIES

                  2             Defendants TDK Corporation, Magnecomp Precision Technology Public Co., Ltd., SAE

                  3   Magnetics (H.K.) Ltd., Hutchison Technology Inc., and Headway Technologies, Inc. (collectively,

                  4   “TDK”) and NHK Spring Co., Ltd., NAT Peripheral (Dong Guan) Co., Ltd., NAT Peripheral (H.K.)

                  5   Co., Ltd., NHK Spring (Thailand) Co., Ltd., and NHK International Corp. (collectively, “NHK” and,

                  6   together with TDK, “Defendants”) respectfully submit this memorandum in support of their cross-

                  7   motion requesting that the Court enter the proposed schedule attached as Exhibit A hereto and in

                  8   opposition to Plaintiffs Seagate Technology LLC, Seagate Technology (Thailand) Ltd., Seagate

                  9   Singapore International Headquarters Pte. Ltd., and Seagate Technology International’s (collectively,

              10      “Seagate”) motion for a scheduling order setting trial (“Mot.”) [ECF No. 350].

              11                                                  INTRODUCTION

              12                Seagate’s motion focuses on its preference to try its claims separately from the Class Plaintiffs,

              13      but gives short shrift to all that must come before trial. Seagate’s proposed schedule omits important

              14      steps in the pretrial process and proposes unrealistic deadlines for others. It also abandons entirely

              15      any prospect of pretrial coordination after the close of merits discovery, which will lead to redundancy,

              16      inefficiency, wasted judicial resources, and prejudice to Defendants.1 As Seagate acknowledges, there

              17      is substantial overlap in the substantive claims at issue here, and similar issues are likely to be raised

              18      in the Seagate and class cases at nearly every step of the pretrial process: with expert disclosures and

              19      discovery, summary judgment, and Daubert motions.                 Those pretrial proceedings should be

              20      coordinated across all three of the cases in the MDL, so that all of the cases can move forward in a

              21      “just and efficient manner” as contemplated by the MDL statute. See 28 U.S.C. § 1407.

              22                A coordinated pretrial schedule need not delay the progress of the cases. Defendants have

              23      proposed a consolidated schedule that allows all of the cases to proceed together through pretrial

              24      proceedings, avoiding inefficiency and unnecessary prejudice, while still allowing the cases to be

              25      ready for trial only a few months after the (unrealistic) trial date proposed by Seagate. The schedule

              26      Defendants have proposed would allow all three cases in this MDL to be ready for trial much earlier

              27      1
                        The Seagate case was related to these MDL proceedings by order dated February 20, 2020. ECF No.
              28      157.
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 ATTORNEYS AT LAW         DEFENDANTS’ OPPOSITION TO SEAGATE’S MOTION FOR A SCHEDULING                   Case No. 3:19-md-02918-MMC
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                  1   than all of the antitrust MDL cases Seagate cites in its memorandum, or any other antitrust MDL of

                  2   which Defendants are aware. Defendants’ schedule does not truncate the class certification schedule,

                  3   as Seagate alleges; it just starts those proceedings before the close of fact discovery and does not await

                  4   resolution of class certification to continue with other pretrial proceedings.2

                  5             Seagate’s request that the Court now determine how the trial or trials in these cases will be

                  6   structured is premature. As Defendants’ proposed schedule demonstrates, it is not necessary to decide

                  7   now the scope of or participants in any trial in order to set an appropriate and complete schedule

                  8   leading up to trial. The most efficient course would be for the Court first to decide threshold pretrial

                  9   issues that will dictate the nature and scope of claims and evidence the parties will be presenting at

              10      trial before determining the structure of trial. That is the way other MDLs, including those that Seagate

              11      cites, have proceeded.

              12                However, if the Court is inclined to decide the trial structure at this juncture, then the

              13      commonalities among the cases and the need for efficiency and fairness weigh in favor of

              14      consolidating the three cases in the MDL for trial. Despite Seagate’s attempt to overstate the

              15      differences between its case and Class Plaintiffs’ cases, Seagate is forced to admit that the substantive

              16      evidence of Defendants’ alleged conduct will be largely the same for all of the cases in the MDL. It

              17      would be inefficient and unfair to address those liability issues separately. Seagate’s invocation of the

              18      purported benefits of non-mutual offensive collateral estoppel is spurious and ignores the Supreme

              19      Court’s admonition that courts should avoid these situations precisely because they result in prejudice

              20      to the party potentially subject to estoppel.

              21                Seagate’s primary argument that proof in its trial will differ from the class cases is that the

              22      issue of pass-through is central to Class cases but irrelevant to Seagate’s Sherman Act claims. What

              23      this argument omits, however, is that Seagate is not only asserting Sherman Act claims. It also has

              24      brought claims under California and Minnesota antitrust statutes, as well as contract claims. Pass-

              25      2
                        Defendants provided a proposed pretrial schedule to Seagate and Class Plaintiffs on April 9, 2021,
              26      which was attached as Appendix C to Seagate’s Motion. On April 20, 2021, Class Plaintiffs responded
                      and provided Defendants with their proposed schedule. Defendants and Class Plaintiffs met and
              27      conferred on April 23, 2021, after which Defendants offered to adjust the briefing schedule for the
                      motions for class certification. The schedule Defendants respectfully request that the Court enter,
              28      attached as Exhibit A, incorporates this update.
MORGAN, LEWIS &                                                       2
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 ATTORNEYS AT LAW         DEFENDANTS’ OPPOSITION TO SEAGATE’S MOTION FOR A SCHEDULING                   Case No. 3:19-md-02918-MMC
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                  1   through evidence is relevant to each of those claims, leaving very little to distinguish the proof in a

                  2   Seagate-only trial from the proof in a trial including Class Plaintiffs.

                  3          Seagate’s motion is not aimed at efficiency or judicial economy; quite the contrary. Seagate

                  4   asks the Court to set aside four weeks for its solo trial, undermining any notion that its case is simple

                  5   or straightforward. There is no reason why the Seagate and Class Plaintiffs cannot jointly try their

                  6   case in that (or close to that) amount of time. Defendants respectfully urge the Court to adopt the

                  7   schedule they have proposed, and to deny Seagate’s motion.

                  8                                                ARGUMENT
                  9
                        I.   Coordination Among All Cases Should Continue Beyond Fact Discovery.
              10
                             A unified pretrial schedule for the three cases in this litigation would ensure that substantially
              11
                      similar issues concerning expert disclosures and discovery, summary judgment, and Daubert issues
              12
                      are addressed consistently and in a parallel, coordinated fashion. The Court has already set a schedule
              13
                      that provides one deadline for all parties to complete fact discovery, and Seagate articulates no reason
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                      for divergence at that juncture. Deadlines for other pretrial activities applicable to all three cases
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                      should remain consistent. Specifically, the schedule should provide consistent deadlines for all parties
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                      to make expert disclosures and take expert discovery; to brief and argue dispositive motions (excluding
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                      one partial summary judgment motion that is scheduled to occur during fact discovery); and to prepare
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                      the cases for trial (as necessary). Proceeding as Seagate’s proposed schedule implies—with each of
              19
                      these pretrial stages proceeding first in the Seagate case and then later in the Class cases—will lead to
              20
                      duplication, inefficiency, wasted judicial resources, and prejudice to Defendants.
              21
                             Seagate proposes a schedule with respect to its own action, but consideration of its Motion
              22
                      requires the Court to consider the entirety of this multidistrict litigation, especially because Seagate
              23
                      and the Class Plaintiffs have asserted claims involving the same underlying activity and their cases
              24
                      are at the same stage of development, with all cases proceeding in parallel through discovery. A
              25
                      piecemeal approach to case management (as Seagate proposes) following discovery will not promote
              26
                      judicial efficiency and will not be fair to Defendants. Defendants’ proposed schedule maintains
              27
                      efficiencies that MDL proceedings are intended to promote and does not prejudice Seagate or the Class
              28
MORGAN, LEWIS &                                                        3
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 ATTORNEYS AT LAW      DEFENDANTS’ OPPOSITION TO SEAGATE’S MOTION FOR A SCHEDULING                   Case No. 3:19-md-02918-MMC
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                  1   Plaintiffs.

                  2             First, Seagate’s proposal does not permit for efficient case management and will result in

                  3   duplication and inefficiency for the parties and the Court. There is substantial overlap among the

                  4   various Plaintiffs’ claims before this Court. Plaintiffs’ claims all are based on substantially similar (if

                  5   not identical) alleged wrongful conduct and, therefore, will likely involve overlapping witnesses,

                  6   documentary evidence, and certain expert testimony. In fact, Seagate’s own motion notes how much

                  7   overlap exists among the cases, including, for example: “the scope of the conspiracy”; “the length of

                  8   the conspiracy”; “the conspiracy’s effect on United States commerce”; “whether SAE participated in

                  9   the conspiracy as a hub for facilitating information sharing; “which other TDK and NHK subsidiaries

              10      were members of the conspiracy”; “the amount of the overcharge paid by Seagate”; and “whether

              11      TDK acquired HTI as part of a plan with NHK to consolidate the market in furtherance of the

              12      conspiracy.” Mot. at 8. Seagate also explains that “the conspiracy evidence in the Seagate cases and

              13      the class cases largely overlaps.” Id. at 6. and provides a diagram showing that its entire case, except

              14      for its breach-of-contract claim3 and Headway as a Defendant, is encompassed within Class Plaintiffs’

              15      cases. Id. at 7. The overlapping nature of Seagate’s claims with those of Class Plaintiffs calls for a

              16      joint pretrial schedule that eliminates duplication and provides for the most efficient, resourceful, and

              17      fairest preparation of these cases for trial.

              18                Moreover, while Seagate claims that “none” of the pass-through evidence that will be part of

              19      the Class Plaintiffs’ cases will be relevant to its Sherman Act claim, Mot. at 6, Seagate omits that pass-

              20      through is at least relevant to three of its own claims—the claims it has brought under California and

              21      Minnesota law and its contract claims, as explained in Section III.B. Defendants will introduce expert

              22      testimony and evidence on pass-through in Seagate’s and Class Plaintiffs’ cases.

              23                There is also likely to be substantial overlap in the dispositive motions filed by the parties

              24      following the close of expert discovery. As noted, the liability issues are largely, if not entirely, the

              25      3
                        This claim will not require a substantial expenditure of time at trial, particularly in light of the fact
              26      that its damages analysis will converge with that of the antitrust claims. Seagate alleges that the
                      consequences of both are that Seagate “paid more than [they] otherwise would have paid in the absence
              27      of the Defendants’ improper” conduct, and the Court denied Defendants’ motion to dismiss the breach-
                      of-claim claim in part because “the law recognizes that there may be multiple causes of a plaintiff’s
              28      injury.” ECF No. 321, at 6 (internal citation omitted).
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  SAN FRANCISCO
                          ORDER SETTING TRIAL AND CROSS-MOTION FOR A SCHEDULING ORDER
                      Case
                        Case
                           3:19-md-02918-MMC
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                                                                   04/23/21 Page
                                                                            Page 114
                                                                                 23 ofof24
                                                                                         134



                  1   Dated: April 23, 2021                                Respectfully submitted,

                  2                                                        d
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              13                                                           NAT Peripheral (H.K.) Co., Ltd., NHK
                                                                           Spring (Thailand) Co., Ltd., NHK
              14                                                           International Corp.

              15                                                           /s/ J. Clayton Everett, Jr.
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              23                                                           Precision Technology Public Co., Ltd., SAE
                                                                           Magnetics (H.K.) Ltd., Headway
              24                                                           Technologies, Inc., and Hutchison
                                                                           Technology Inc.
              25

              26

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  SAN FRANCISCO
                      ORDER SETTING TRIAL AND CROSS-MOTION FOR A SCHEDULING ORDER
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                  1                                          PROOF OF SERVICE

                  2          The undersigned hereby certified that on April 23, 2021, the foregoing document was filed
                  3   with the Clerk of the Court for the United States District Court for the Northern District of California,
                  4
                      San Francisco by using the CM/ECF system. I certify that all participants in the case are registered
                  5
                      CM/ECF users and that service will be accomplished by the CM/ECF system.
                  6

                  7

                  8
                       Dated: April 23, 2021
                  9                                                                  /s/ J. Clayton Everett, Jr.
                                                                                       J. Clayton Everett, Jr.
              10

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MORGAN, LEWIS &                                                       19
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 ATTORNEYS AT LAW      DEFENDANTS’ OPPOSITION TO SEAGATE’S MOTION FOR A SCHEDULING                    Case No. 3:19-md-02918-MMC
  SAN FRANCISCO
                       ORDER SETTING TRIAL AND CROSS-MOTION FOR A SCHEDULING ORDER
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                  Exhibit 37

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                  Exhibit 38
     Case 3:19-md-02918-MMC Document 862-2 Filed 02/10/23 Page 118 of 134



From: Evans-Aziz, Mikaela
Sent: Monday, November 29, 2021 12:26 PM
To: Raol, Neaha P. <neaha.raol@morganlewis.com>; WSGR - Suspensions Lit Team
<wsgrsuspensions@wsgr.com>
Cc: Glazer, Alexandra <AGlazer@hunton.com>; MLB_TDKHDD <MLB_TDKHDD@morganlewis.com>; Lee,
Craig <CraigLee@hunton.com>; Simpson, Carter C. <csimpson@hunton.com>; Dufek, Christopher
<CDufek@hunton.com>
Subject: RE: In re HDD - Seagate Custodians

Counsel,

To confirm the parties’ resolution reached on today’s meet and confer, below please find the final,
agreed-upon list of Seagate sales-side custodians:

    1.    Patrick Shay
    2.    Frank Iarusci
    3.    Stephen Denmark
    4.    BS Teh
    5.    Futoshi Niizuma
    6.    Greg McIntosh
    7.    Blake Dawson
    8.    Brad Herbstreit

Thanks,
Mikaela




Mikaela E. Evans-Aziz | Associate | Wilson Sonsini Goodrich & Rosati
One Market Plaza, Spear Tower, Suite 3300 | San Francisco, CA 94105 | mobile: 619.395.2439 | mevansaziz@wsgr.com
*Only admitted to practice in New York, supervised by members of the California bar
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                  Exhibit 39
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12    Hutchinson Technology, Inc., and Magnecomp           Ltd., NAT Peripheral (H.K.) Co., Ltd.,
      Precision Technology Public Co. Ltd.                 NHK Spring (Thailand) Co., Ltd.,
13                                                         NHK International Corp.

14                                   UNITED STATES DISTRICT COURT

15                                 NORTHERN DISTRICT OF CALIFORNIA

16                                       SAN FRANCISCO DIVISION

17    IN RE: HARD DISK DRIVE SUSPENSION
      ASSEMBLIES ANTITRUST LITIGATION
18                                                            Case Nos. 19 MD 2918(MMC)
                                                                        20 Civ. 1217(MMC)
19    THIS DOCUMENT RELATES TO:
                                                              DEFENDANTS’ FIRST SET OF
20    SEAGATE TECHNOLOGY LLC, et al.,                         REQUESTS FOR PRODUCTION
                                                              OF DOCUMENTS TO SEAGATE
21                  Plaintiffs,
22           v.
23    HEADWAY TECHNOLOGIES, INC., et al.,
24                  Defendants.
25
             Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Defendants TDK
26
      Corporation, SAE Magnetics (H.K.) Ltd., Headway Technologies, Inc., Hutchinson Technology,
27
      Inc., Magnecomp Precision Technology Public Co. Ltd., NHK Spring Co. Ltd, NHK International
28
      Corporation, NHK Spring (Thailand) Co., Ltd., NAT Peripheral (Dong Guan) Co., Ltd., and NAT

                                                       1       Case Nos. 19 MD 2918 & 20 Civ. 1217
                                  FIRST REQUESTS FOR PRODUCTION TO SEAGATE
     Case 3:19-md-02918-MMC Document 862-2 Filed 02/10/23 Page 121 of 134



 1    surveys, market analyses, including market trends, conditions, and forecasts, and data used to

 2    formulate Your pricing strategy.

 3           Request No. 41
 4           Documents summarizing, describing, or referring to any analysis, study, or comparison of

 5    any supplier, producer, manufacturer, or distributor of Suspension Assemblies or Suspension

 6    Assembly Products.

 7           Request No. 42
 8           In a mutually agreeable electronic form, all transactional data showing, for each sale of a

 9    HDD by You, the following:

10           a. the date You sold the HDD;

11           b. the entity that sold the HDD;

12           c. the internal tracking number, model number, SKU, capacity, product series, and/or

13               other information used to identify each HDD You sold;

14           d. the person or entity to whom You sold the HDD, including a description of the

15               customer (e.g., OEM, reseller, end-user, etc.);

16           e. the factory where the HDD was manufactured;

17           f. the address from which You shipped each HDD You sold;

18           g. the address to which each HDD You sold was shipped;

19           h. the address to which bills or invoices were sent for each HDD You sold;

20           i. the invoiced unit price and currency in which each sale is expressed;

21           j. any and all taxes, customs, tariffs, duties, or other fees You paid on each HDD You

22               sold;

23           k. the quantity of HDDs sold in each sale;

24           l. the manufacturer of the Suspension Assembly incorporated into each HDD sold;

25           m. the listed and negotiated price of each HDD sold (before the application of any rebates

26               or discounts);

27           n. The amounts of any rebates or discounts on the HDD sold;

28


                                                        14         Case Nos. 19 MD 2918 & 20 Civ. 1217
                               FIRST REQUESTS FOR PRODUCTION TO SEAGATE
     Case 3:19-md-02918-MMC Document 862-2 Filed 02/10/23 Page 122 of 134



 1           o. The net price per unit and net total dollars at which You sold each HDD (after the

 2              application of any rebates or discounts);

 3           p. the cost to You of manufacturing each HDD sold, on an itemized basis, including the

 4              costs of each component incorporated into the HDD;

 5           q. all terms and conditions that were part of each HDD sold; and

 6           r. whether any sales were made via broker/agent/distribution agreement and, if so, the

 7              terms of such agreements.

 8           Request No. 43
 9           In a mutually agreeable electronic form, all transactional data showing, for each purchase

10    by You of a Suspension Assembly, the following:

11           a. the date You purchased the Suspension Assembly;

12           b. the entity that purchased the Suspension Assembly;

13           c. the entity from whom You purchased the Suspension Assembly;

14           d. the specific model number or other unique identifying information for each

15              Suspension Assembly You purchased;

16           e. the internal tracking number, model number, capacity, product series, or other

17              information used to identify each HDD that the Suspension Assembly You purchased

18              was incorporated into;

19           f. the entity that shipped the Suspension Assembly to You;

20           g. the address to which each Suspension Assembly You purchased was shipped;

21           h. the address to which bills or invoices were sent for each Suspension Assembly You

22              purchased;

23           i. the invoiced unit price and currency in which each purchase is expressed;

24           j. any and all taxes, customs, tariffs, duties, or other fees You paid on each Suspension

25              Assembly You purchased;

26           k. the quantity of Suspension Assemblies purchased;

27           l. the manufacturer of each Suspension Assembly purchased;

28           m. the listed and negotiated price of each Suspension Assembly purchased (before the


                                                        15      Case Nos. 19 MD 2918 & 20 Civ. 1217
                              FIRST REQUESTS FOR PRODUCTION TO SEAGATE
     Case 3:19-md-02918-MMC Document 862-2 Filed 02/10/23 Page 123 of 134



 1     Dated: July 21, 2020
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 7                                                Technology Public Co., Ltd., and SAE
                                                  Magnetics (H.K.) Ltd.
 8
                                                                /s/ Craig Y. Lee
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13                                                NAT Peripheral (Dong Guan) Co., Ltd., NAT
                                                  Peripheral (H.K.) Co., Ltd., NHK Spring
14                                                (Thailand) Co., Ltd., NHK International Corp.
15

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                                                  22      Case Nos. 19 MD 2918 & 20 Civ. 1217
                              FIRST REQUESTS FOR PRODUCTION TO SEAGATE
Case 3:19-md-02918-MMC Document 862-2 Filed 02/10/23 Page 124 of 134




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November 24, 2020


Via E-Mail

Kenneth O’Rourke
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Washington, DC 20006
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Re:    Defendants’ Questions Regarding Seagate Data Samples

This letter provides questions directed to the Seagate plaintiffs regarding their purchases of
HDD suspension assemblies. Defendants reserve all rights to supplement or amend these
questions. As proposed to plaintiffs, Defendants request responses by December 4, and
Defendants will endeavor to respond to plaintiffs’ questions in the same time frame.

Defendants note that Seagate has not produced any samples of transactional sales data of
HDDs and have objected to such productions. Defendants do not agree that it is proper to
withhold production of such data. Sales data of HDDs is highly relevant to claims asserted
and likely to be asserted in this action. Defendants request that Seagate produce samples of
downstream HDD sales data by Wednesday, December 2.

Questions Regarding Seagate Purchase Data
Defendants understand that the Seagate purchase data are organized in six Excel files, each
file contains 100 observations.
       i. STX-Samp-00000001-HIGHLY CONFIDENTIAL.xlsx (tab = Magnecomp_11i)
       ii. STX-Samp-00000002-HIGHLY CONFIDENTIAL.xlsx (tab = magnecomp_R12)
       iii. STX-Samp-00000003-HIGHLY CONFIDENTIAL.xlsx (tab = NHK_11i)
       iv. STX-Samp-00000004-HIGHLY CONFIDENTIAL.xlsx (tab = NHK_R12)
       v. STX-Samp-00000005-HIGHLY CONFIDENTIAL.xlsx (tab = SAE_11i)
       vi. STX-Samp-00000006-HIGHLY CONFIDENTIAL.xlsx (tab = SAE_R12)


         ATLANTA AUSTIN BANGKOK BEIJING BOSTON BRUSSELS CHARLOTTE DALLAS DUBAI HOUSTON LONDON
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Case 3:19-md-02918-MMC Document 862-2 Filed 02/10/23 Page 126 of 134




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April 15, 2022

Via E-Mail

Contains Information Designated by Seagate as Highly Confidential

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415-947-2000

Re:    In re Hard Disk Drive Suspension Assemblies Antitrust Litigation,
       No. 19-md-02918-MMC

Dear Counsel:

We write in response to Seagate’s letter dated March 11, 2022, and production of
transactional sales data at STX1336356.txt - STX1336371.txt, which covers the time period
from January 2003 to December 2018.

In your March 11 letter, you represented that this data production should answer the questions
raised in our February 7 correspondence and invited us to send you a revised set of sales data
questions following our review of your production. We have included a list of revised
questions below based on our preliminary review of this data. We reserve the right to
supplement with additional questions as we work with the data in more detail.

We note that Seagate produced its transactional sales data as text files (.txt). Your March 11
letter suggests that we should be able to convert this data from the .txt files into excel (.xls or
.xlsx) using a pipe delimiter. However, this was not possible due to the number of
observations in the data exceeding Excel’s limit. We thus had to convert the original .txt files
directly into a SAS database to properly view it.

To assist Seagate with understanding and responding to our questions below, we have created
the enclosed excel file from the SAS database, titled “Addendum to April 15 Sales Data
Letter” (“Addendum”). The material contained in this Addendum has not been manipulated
or altered beyond copying it out of the SAS database. The purpose of including this
Addendum is to provide Seagate with an easy point of reference to interpret our questions.

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                  Exhibit 42
     Case 3:19-md-02918-MMC Document 862-2 Filed 02/10/23 Page 129 of 134



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     Ltd.; NAT Peripheral (Dong Guan) Co., Ltd.;
12   NAT Peripheral (H.K.) Co., Ltd.; and NHK
     Spring (Thailand) Co., Ltd.
13

14

15                                 UNITED STATES DISTRICT COURT

16                                NORTHERN DISTRICT OF CALIFORNIA

17

18    IN RE: HARD DISK DRIVE SUSPENSION            )   Case Nos.   3:19-md-02918-MMC
      ASSEMBLIES ANTITRUST LITIGATION              )               3:20-cv-01217-MMC
19
                                                   )
20                                                 )   MDL No. 2918
      THIS DOCUMENT RELATES TO:                    )
21                                                 )   DEFENDANT NHK’S AMENDED
      SEAGATE TECHNOLOGY LLC, et al.,              )   NOTICE OF RULE 30(b)(6)
22                  Plaintiffs,                    )   DEPOSITION OF SEAGATE
                                                   )   TECHNOLOGY LLC, SEAGATE
23          v.                                     )   TECHNOLOGY (THAILAND) LTD.,
24    HEADWAY TECHNOLOGIES, INC., et al.,          )   SEAGATE SINGAPORE
                                                   )   INTERNATIONAL HEADQUARTERS
25                  Defendants.                    )   PTE. LTD., AND SEAGATE
                                                   )   TECHNOLOGY INTERNATIONAL
26

27

28

      DEFENDANT NHK’S AMENDED NOTICE OF RULE                          CASE NOS. 3:19-MD-02918-MMC
      30(B)(6) DEPOSITION OF SEAGATE                                            3:20-CV-01217-MMC
     Case 3:19-md-02918-MMC Document 862-2 Filed 02/10/23 Page 130 of 134



 1                                        TOPICS OF EXAMINATION
 2                                           DESIGNEE: KADY LIM
 3             8.     How Seagate received or shared competitive intelligence concerning Suspension
 4   Assemblies, head gimbal assemblies, head stack assemblies, and HDDs, including when, how, and
 5   from whom Seagate received such intelligence; when, how, and to whom Seagate shared such
 6   intelligence, including with its suppliers and customers; the topic of such intelligence; and how
 7   intelligence was used, shared, or communicated between Seagate’s personnel, departments, or
 8   entities. 2
 9             14.    Seagate’s general categories of HDD customers, including its top 10 HDD customers,
10   and the locations where Seagate’s customers receive delivery of HDDs, including a breakdown of
11   whether those customers receive delivery of Seagate products in the United States or abroad, and the
12   percentage of sales to each customer segment and the percentage of sales that go directly to foreign
13   customer locations instead of the United States. 3
14             15.    How the cost of Suspension Assemblies affects the price for HDDs, including the
15   percentage of the HDD price attributable to Suspension Assemblies; the percentage of the HDD
16   price attributable to HDD components that are not Suspension Assemblies; the extent to which cost
17   of the Suspension Assembly is, or is attempted to be, passed on, including through any cost-plus
18   arrangements; and whether and how Seagate’s approach to incorporating the cost of Suspension
19   Assemblies in its price for HDDs changed during the Relevant Time Period.
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     2
       Ms. Lim has only been designated for the portion of this topic concerning HDDs.
27   3
       As of October 19, 2022, a portion of this topic remains in dispute concerning “the percentage of sales to
     each customer segment and the percentage of sales that go directly to foreign customer locations instead of
28   the United States.”

         DEFENDANT NHK’S AMENDED NOTICE OF RULE                                 CASE NOS. 3:19-MD-02918-MMC
         30(B)(6) DEPOSITION OF SEAGATE                                                   3:20-CV-01217-MMC
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                  Exhibit 43

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                  Exhibit 44

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                  Exhibit 45

FILED UNDER SEAL
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                  Exhibit 46

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